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                                    Joseph LaForte

                                                                         Page 1
                           IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


              - - - - - - - - - - - - - - - - -
              HMC INCORPORATED, et al.,         :CIVIL ACTION
                                                :NO. 19-3285
                                    Plaintiffs,:
                     vs.                        :
                                                :
              COMPLETE BUSINESS SOLUTIONS       :
              GROUP, INC., et al.,              :
                                                :
                                    Defendants.:
              - - - - - - - - - - - - - - - - -

                                          -   -   -

                                THURSDAY, MARCH 5, 2020

                                          -   -   -


                                 Oral deposition of JOSEPH LaFORTE,

              taken pursuant to notice, held at WHITE AND WILLIAMS,
              1800 One Liberty Place, 1650 Market Street,

              Philadelphia, Pennsylvania, 19103 commencing at

              11:17 a.m. before Shauna L. Detty, Court Reporter -
              Notary Public there being present.




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                                                                         Page 2
         1    A P P E A R A N C E S:
         2      ON BEHALF OF THE PLAINTIFFS:
                JUSTIN PROPER, ESQUIRE
         3      WILLIAM FEDULLO, ESQUIRE
                SHANE HESKIN, ESQUIRE
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         1                             I N D E X

         2    WITNESS
              JOSEPH LaFORTE
         3      (Witness sworn.)

         4    DIRECT EXAMINATION BY                                        PAGE

         5    Mr. Proper                                                       4

         6                       E    X   H   I   B   I   T   S

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                                                                         Page 4
         1                              -    -    -

         2                      (It is agreed by and between counsel

         3    that reading, signing, sealing, filing, and

         4    certification are hereby waived and all objections,

         5    except as to the form of the questions, are reserved

         6    until the time of trial.)

         7                               -    -    -

         8             ...JOSEPH LaFORTE, after having been first duly

         9    sworn, was examined and testified as follows...

        10                               -    -    -

        11                        DIRECT EXAMINATION

        12                               -    -    -

        13    BY MR. PROPER:

        14    Q.        Good morning, Mr. LaForte.

        15    A.        How you doing?

        16    Q.        We're here for your deposition in a lawsuit

        17    between my client, HMC Incorporated, et al., versus

        18    Complete Business Solutions Group Incorporated, et al.

        19    I'm going to be asking you some questions today about

        20    some of the issues that pertain to this lawsuit.             If

        21    there's a point in time you need to take a break for

        22    some reason, just let me know and I'll accommodate

        23    that.    I just ask that you answer any questions that

        24    are pending at the time of the request.


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         1                      Otherwise, if you don't have any

         2    questions, are you ready to proceed?

         3    A.        Yup.

         4    Q.        Complete Business Solutions Group, is that a

         5    d/b/a for Par Funding?

         6    A.        Yes.

         7    Q.        And is Par Funding a corporation?          Do you know

         8    if they're incorporated?

         9    A.        You just said it's a d/b/a, right?

        10    Q.        Yeah.   Is --

        11    A.        How could a d/b/a be a corporation?

        12    Q.        Is Complete Business Solutions Group a d/b/a

        13    for Par Funding or is Par Funding a d/b/a for --

        14    A.        I just answered you.       It's CBSG d/b/a Par

        15    Funding.

        16    Q.        I was confused by --

        17    A.        You got to read this before you come, though.

        18    You got to be on point.        You got to know what you're

        19    doing.    So come on.

        20    Q.        When was CBSG incorporated?

        21    A.        I don't know.

        22    Q.        What state was CBSG incorporated in?

        23    A.        I'm not positive.

        24    Q.        What's your understanding as to where CBSG was


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                                                                         Page 6
         1    incorporated?

         2    A.        I don't know.     I'm not the lawyer for the

         3    firm.

         4    Q.        Do you have any ownership interest in CBSG?

         5    A.        No.

         6    Q.        Are you an officer of CBSG?

         7    A.        No.

         8    Q.        Have you ever been an officer of CBSG?

         9    A.        Nope.

        10    Q.        Did you -- were -- strike that.

        11                      Were you involved in the formation of

        12    the company?

        13                      MR. BERMAN:     Objection to form.

        14                      But you can answer.

        15                      THE WITNESS:     I don't know how to

        16    answer that question.

        17    BY MR. PROPER:

        18    Q.        Are you one of the founders of the company?

        19    A.        No.

        20    Q.        Who is the founder of the company?

        21    A.        I don't know what the word "founder" means.

        22    It can mean a lot of different things.          I don't want to

        23    answer the question incorrectly.

        24    Q.        Did you provide any capital of your own when


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                                                                         Page 7
         1    the company was formed?

         2    A.        No.

         3    Q.        Do you know what capital was used to form

         4    CBSG?

         5    A.        No.

         6    Q.        So just to be clear, you did not make any form

         7    of capital contribution to start CBSG?

         8    A.        No.   You just asked that.

         9    Q.        Did your wife make any capital contribution --

        10    A.        I can't speak for my wife.

        11    Q.        I understand you can't speak for your wife,

        12    but, to your knowledge, do you know whether or not your

        13    wife, Lisa McElhone, provided any monies to start CBSG

        14    back in 2012?

        15    A.        I don't know.     I can't remember what I -- what

        16    I did last week.      I wouldn't know if she put money in

        17    or didn't put money in.       And I don't see how it's

        18    relevant to this case right now.

        19    Q.        Okay.   Whether it's relevant or not is a

        20    separate issue.     I'm just asking you whether or not you

        21    have a recollection one way or another whether or not

        22    your wife provided any monies to form the company.

        23    A.        We can talk about the Yankees, too.         I used to

        24    play professional baseball.        You want to talk about the


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                                                                         Page 8
         1    Yankees?    I don't know.     We went over the same

         2    questions last time I was here, so I guess you can just

         3    read that deposition.

         4    Q.        Whose idea was it to start a company that was

         5    specializing or would specialize in merchant cash

         6    advances?

         7                      MR. BERMAN:     Objection.

         8                      THE WITNESS:     I can't talk about ideas.

         9    I don't know anybody's ideas or anybody's thoughts.             If

        10    you want me to testify about somebody's thoughts or

        11    ideas, that would be ridiculous.

        12    BY MR. PROPER:

        13    Q.        Did you have any role in the concept that CBSG

        14    would provide merchant cash advances to businesses?

        15                      MR. BERMAN:     Objection.

        16                      THE WITNESS:     I don't know how to

        17    answer the question.

        18    BY MR. PROPER:

        19    Q.        Do you know what a merchant cash advance is?

        20    A.        Sure.

        21    Q.        Did you know what a merchant cash advance was

        22    in 2012?

        23    A.        No.

        24    Q.        When is the first time that you heard the


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         1    phrase "merchant cash advance"?

         2    A.        I don't recall.     It's too long ago.

         3    Q.        Did you have any involvement in CBSG when the

         4    company was initially formed in 2012?

         5    A.        What kind of -- I don't know.        I don't know

         6    the -- I don't know what you mean.

         7    Q.        Involvement of any kind --

         8    A.        I'm an independent operator.        Remember, we

         9    went over that in the last deposition.          I'm an

        10    independent sales operator for another entity.            So you

        11    keep talking to me about Par Funding and CBSG when I

        12    don't work there, so I don't know.         I worked for

        13    Recruiting and Marketing Resources, same as my last

        14    testimony, and the scope of how these guys started the

        15    company is, you know -- I don't know what their

        16    thoughts were or what their ideas were.

        17    Q.        The initial forms that CBSG used when they

        18    advanced funds to businesses back in 2012, did you have

        19    any involvement in creating those funds?

        20                      MR. BERMAN:     Objection.

        21                      MR. PROPER:     Strike that because I

        22    used -- I botched the word.

        23    BY MR. PROPER:

        24    Q.        When CBSG started funding businesses in 2012,


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                                                                      Page 10
        1    did you have any role in creating the forms that were

        2    used for those funding transactions?

        3                      MR. BERMAN:    Objection.

        4                      You can answer, if you understand.

        5                      THE WITNESS:    I don't understand.

        6    BY MR. PROPER:

        7    Q.       Back in 2012, was the business of CBSG similar

        8    to what it does now?

        9                      MR. BERMAN:    Objection.

       10                      You can answer, if you understand.

       11                      THE WITNESS:    I don't think so.      Every

       12    day, it changes.     The products change, everything

       13    changes on a day-to-day basis.        Similar?    I mean,

       14    you've been a lawyer for how many years?          It's similar.

       15    I'm sure that the scope of the work that you guys do is

       16    different.    Things change.     So I don't know how to

       17    answer the question appropriately.

       18    BY MR. PROPER:

       19    Q.       Are you familiar with the forms that CBSG used

       20    in 2012 to fund advances to businesses?

       21    A.       I would not remember what they used in 2012 or

       22    any other lender, what they used in 2012.

       23    Q.       Were you involved in advances made by CBSG to

       24    businesses in 2012?


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                                                                      Page 11
        1    A.       You asked me that already.        No.

        2    Q.       And when I say "were you involved," I don't

        3    mean in an employee/employer capacity.           I mean were you

        4    involved as an ISO or in any way, shape or form with

        5    transactions that CBSG had with businesses?

        6    A.       I can't remember what I closed in 2012 with

        7    any company.    CBSG, Par Funding, Yellowstone, On Deck

        8    Capital, I couldn't remember what --

        9    Q.       When is the first time that you started acting

       10    in a sales capacity for CBSG, year?

       11    A.       I don't act in a sales capacity for CBSG.           I

       12    act in a sales capacity for Recruiting and Marketing

       13    Resources.

       14    Q.       When is the first time that in your capacity

       15    as an employee of Recruiting and Marketing Resources

       16    you started doing some business on behalf of Par

       17    Funding?

       18                      MR. BERMAN:    Objection.

       19                      If you understand.     I mean, there's a

       20    lot of problems with the question.

       21                      THE WITNESS:    Repeat the question.

       22    BY MR. PROPER:

       23    Q.       When is the first time that Recruiting and

       24    Marketing Resources did some work for Par Funding?


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                                                                      Page 12
        1    A.       How do you mean -- what kind of work?

        2    Q.       Any kind of work.

        3    A.       I don't know -- I don't know how to answer the

        4    question, work.

        5    Q.       Well, what do you currently do in your

        6    capacity with Recruiting and Marketing Resources on

        7    behalf of Par Funding?

        8                      MR. BERMAN:    Objection.

        9                      You can answer, if you understand.

       10                      THE WITNESS:    The same as I explained

       11    last -- in the last deposition.        If a -- I source deals

       12    for many different companies.        I send deals to whomever

       13    I think would fit the client's needs.         In that

       14    capacity, I have a relationship with many different

       15    lenders.

       16    BY MR. PROPER:

       17    Q.       Including Par?

       18    A.       Many different lenders, including Par.

       19    Q.       When did you start sourcing deals for Par?

       20    A.       I don't recall.

       21    Q.       Were you sourcing deals for Par in 2012?

       22    A.       I don't recall.

       23    Q.       Was Par providing merchant cash advances in

       24    2012, to your knowledge?


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                                                                      Page 13
        1    A.       You'd have to ask Par.

        2    Q.       So you don't know?

        3    A.       You'd have to ask Par.

        4    Q.       Is Par providing merchant cash advances today

        5    to merchants?

        6                      MR. BERMAN:    Objection; irrelevant.

        7                      Don't answer.

        8                      Today is absolutely irrelevant to this

        9    case.    You know the relevant time period, which I let

       10    you go a lot further than I wanted to, is February 2018

       11    to October 2018.

       12                      Don't answer about today.

       13    BY MR. PROPER:

       14    Q.       Mr. Berman is referring to a court order that

       15    only pertains to a 30(b)(6) deposition, so --

       16                      MR. BERMAN:    We don't agree.     Call the

       17    judge.

       18                      MR. PROPER:    Okay.   I'm not going to

       19    call the judge.     You continue, just advise your client

       20    not to answer, but I will reserve the right to seek

       21    sanctions from The Court.

       22                      MR. BERMAN:    Do what you have to do,

       23    whatever you want.

       24                      MR. PROPER:    Thanks, bro.


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        1                      MR. BERMAN:    Call the judge.     He knows

        2    we're at this deposition.       It's court ordered.

        3                      MR. PROPER:    I understand.     And you

        4    have the order and instructions.        I'm not bothering the

        5    judge again.    He's laid out the parameters and his

        6    discovery order that he issued yesterday was limited to

        7    a 30(b)(6) deposition.      It has nothing --

        8                      MR. BERMAN:    Take whatever position you

        9    want.

       10                      MR. PROPER:    Please don't interrupt me.

       11    It has nothing to do with today's deposition.

       12                      MR. BERMAN:    We don't agree, but that's

       13    fine.   Take whatever position you want.         You're free to

       14    call the judge.     He's here today for the hours that

       15    were designated per a court order.         We're pretty clear

       16    on what the case is about.       Today is absolutely

       17    irrelevant to this case.

       18    BY MR. PROPER:

       19    Q.       Was CBSG providing merchant cash advances to

       20    businesses in 2019?

       21                      MR. BERMAN:    Up until October of 2019,

       22    you can answer.

       23                      MR. PROPER:    That's not my question.

       24    BY MR. PROPER:


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                                                                      Page 15
        1    Q.       Was CBSG providing merchant cash advances to

        2    businesses in 2019?

        3                      MR. BERMAN:    Same objection.

        4                      THE WITNESS:    I don't know.

        5    BY MR. PROPER:

        6    Q.       Has CBSG, to your knowledge, ever provided a

        7    merchant cash advance to a business?

        8    A.       Of course.

        9    Q.       Do you know when CBSG first began providing

       10    merchant cash advances to small businesses or any

       11    business?

       12                      MR. BERMAN:    Objection.

       13                      You can answer.

       14                      THE WITNESS:    Say the question again.

       15    BY MR. PROPER:

       16    Q.       Do you know when CBSG first began to provide

       17    merchant cash advances to businesses?

       18    A.       No.   You'd have to ask CBSG.

       19    Q.       Do you know whether CBSG has changed the

       20    structure of its transactions with businesses since you

       21    started sourcing deals for them?

       22    A.       What transaction?

       23    Q.       Any transaction with a business that you

       24    sourced in your capacity as an employee of Recruiting


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        1    and Marketing Resources.

        2                      MR. BERMAN:    Objection.    Not a proper

        3    question.

        4                      But you can answer.

        5                      THE WITNESS:    There's many different

        6    products and services that CBSG offers and I'm sure

        7    they change their products and services on a day-to-day

        8    basis.   Similar to White & Williams, how you guys

        9    change your products and services and employees, too.

       10    So I'm sure, as a corporation, they change their

       11    products and services.

       12    BY MR. PROPER:

       13    Q.       Okay.    So what products and services were

       14    offered to businesses by CBSG in 2019?

       15    A.       I don't have -- I don't speak for the company.

       16    I don't know all the products and services.

       17    Q.       Can you give me an example of some of the

       18    products and services that CBSG offered to businesses

       19    in 2019?

       20    A.       The one with -- the one your client took from

       21    HMC, we can talk about that.

       22    Q.       Okay.    Can you give me some examples of

       23    products and services other than the type of product

       24    that was issued to my client?


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        1    A.       No, I'm not going to speak on behalf of

        2    CBSG/Par Funding.

        3    Q.       Okay.    So with respect to deals you sourced

        4    with CBSG, were there instances where you were involved

        5    in transactions that did not involve a merchant cash

        6    advance?

        7                      MR. BERMAN:    Objection.

        8                      You can answer.

        9                      THE WITNESS:    Yes.

       10    BY MR. PROPER:

       11    Q.       What other products and services that you were

       12    involved with did CBSG offer to businesses?

       13    A.       Invoice factoring, collateral.        Many different

       14    products and services that they could offer.           It

       15    depends.

       16    Q.       What do you mean by "collateral"?

       17    A.       Collateralized product obligations, invoice

       18    factoring.    All different types of products that people

       19    could expand their businesses with.

       20    Q.       Can you just explain to me how a

       21    collateral-based transaction would work with CBSG?

       22    A.       I'm not good at them.       I can't explain it to

       23    you.

       24    Q.       Can you explain to me how an invoice factoring


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        1    arrangement from CBSG differs from a merchant cash

        2    advance from CBSG?

        3    A.       Well, I'll try.      Specific receivables are

        4    different than future receivables.         In the case of your

        5    client, there were specific receivables.          So we help

        6    clients grow their businesses.        We take a specific

        7    receivable.    We finance the customer in order for him

        8    to obtain the business.       They go and procure the

        9    receivable and they're supposed to give us back the

       10    proportionate amount of that receivable in order for

       11    them to enhance their business.

       12    Q.       Were all of the transactions with my client

       13    invoice factoring arrangements?

       14    A.       I wouldn't know.

       15    Q.       Did you do anything to prepare for today's

       16    deposition?

       17    A.       No.

       18    Q.       Did you have any involvement with the

       19    different transactions that my client entered into with

       20    CBSG?

       21    A.       I wouldn't bother reading it.

       22    Q.       I'm sorry?

       23    A.       I didn't even bother reading it.

       24    Q.       Yeah, I'm just -- now we're talking about your


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        1    memory.   Do you have any recollection of having a

        2    personal involvement with any of the different

        3    transactions that my client entered into with CBSG?

        4                      MR. BERMAN:    Objection.

        5                      But you can answer, if you understand.

        6                      THE WITNESS:    Your client -- the

        7    initial -- the initial transactions, I did have an

        8    involvement in.     Kara was -- who your client -- client

        9    by name -- Kara DiPietro was a friend.         I was -- helped

       10    her immensely grow the business.        We identified

       11    specific receivables.      We purchased those specific

       12    receivables.    We went on websites and transferred those

       13    receivables into our name.

       14                      And over time and years, the

       15    relationship blossomed.       She -- we let our guard down a

       16    little bit and we didn't actually take those

       17    receivables.    We only put them on the contract.         And

       18    here we are today without our share of that specific

       19    receivable, somewhere to the tune of $3 million.           So

       20    your client came to our office unsolicited.          We invoice

       21    factored her receivables.       When the invoice came in,

       22    she kept all the money.       So that's -- that's how we're

       23    in the situation we're in now.

       24    BY MR. PROPER:


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        1    Q.       So when there's an invoice factoring

        2    arrangement like the one you described and the

        3    agreement states, for example, that you're taking

        4    10 percent of a specific invoice, how do you go about

        5    ensuring that you're only taking 10 percent of a

        6    specific invoice as opposed to receivables from other

        7    invoices?

        8                      MR. BERMAN:    Objection.

        9                      If you can understand the

       10    multi-compound.

       11                      THE WITNESS:    I don't understand, but

       12    I'll try to answer it.

       13    BY MR. PROPER:

       14    Q.       Oh, if you don't understand, I wouldn't want

       15    you to answer --

       16    A.       I'll try to answer it anyway.

       17                      On the contract, it has the specific

       18    receivable.    The nature of the contract in dispute of

       19    the transaction was not to steal the money that was

       20    supposed to come to us.       Our share of the money, which

       21    was that specific receivable for all her jobs, her

       22    construction jobs, we gave her early payback options on

       23    every single deal so in case that receivable came back

       24    late, she would have a benefit.


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        1    Q.       So there's a specific invoice identified on

        2    different agreements that you --

        3    A.       Well, she did.

        4    Q.       -- that CBSG purchased, correct?

        5    A.       She did, yes.

        6                      MR. BERMAN:     Let him finish for her.

        7    BY MR. PROPER:

        8    Q.       Were there specific invoices that CBSG

        9    purported to purchase in different transactions?

       10    A.       Yes.

       11    Q.       And those invoices are identified on the

       12    different agreements, correct?

       13    A.       Correct.

       14    Q.       And under the agreement, you were entitled to

       15    take a certain percentage of the revenues that were

       16    generated by those invoices, right?

       17                      MR. BERMAN:     Objection to the "you."

       18                      But you can answer, if you can answer.

       19                      THE WITNESS:     Yes, it's similar to how

       20    you guys operate.      So you guys work on contingency.

       21    You guys put your time, effort in and cost into a

       22    specific deal.     I'm sure there's a contingency on this

       23    transaction.     You spend time/money for this gentleman

       24    and you to sit here, and this court reporter to sit


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        1    here, you spend money.      At the end, if there's a profit

        2    or when there's a profit, you can share in the profits.

        3    And that's exactly what this was.        The only difference

        4    between me and you is I put up -- we put up actual

        5    cash.

        6    BY MR. PROPER:

        7    Q.       How does CBSG go about determining when monies

        8    are coming in on a specific invoice that's

        9    identified --

       10    A.       Says it on the invoice.

       11    Q.       So there's an invoice identified on an

       12    agreement; I got it.

       13                      So how does CBSG determine when money

       14    comes in on that invoice?

       15    A.       We don't.

       16    Q.       So how do you know when to take money?

       17    A.       It's a daily ACH.      So the balance comes off

       18    the amount of the invoice.       So if you read the

       19    agreements, you can know.       It comes off the amount.       So

       20    it's a fixed payback, just our share.

       21                      So think of it like this:       It's a

       22    nonowner equity partnership with a company in order for

       23    them to expand their businesses.        It's very American,

       24    unlike you guys would think.       But if you help these --


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        1    if these clients want to expand their business, we take

        2    a proportionate amount of the receivable, which is our

        3    principal, and a profit back on each receivable.           It's

        4    pretty simple.

        5    BY MR. PROPER:

        6    Q.       I understand the construct.

        7    A.       Got it.    So why did you ask me, then?

        8    Q.       I don't understand your answer.         I understand

        9    the concept.

       10    A.       I'm saying why did you ask me about the

       11    construct if you -- if you understand it?

       12                      MR. BERMAN:    Just answer his questions.

       13                      THE WITNESS:    I'm trying.

       14                      MR. BERMAN:    I know.    No, no, and you

       15    are.   So just let him ask the questions for you.

       16    BY MR. PROPER:

       17    Q.       So when CBSG purchases an invoice, is the

       18    invoice -- strike that.

       19                      So when you purchase an invoice, are

       20    there receivables already generated or are there

       21    receivables that have to be collected or both?

       22                      MR. BERMAN:    Objection.

       23                      THE WITNESS:    I don't know.

       24    BY MR. PROPER:


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        1    Q.       Because here's my confusion, and I'm hoping

        2    you can alleviate it:       If you're purchasing

        3    receivables, are those receivables that have already

        4    been received by the business or are they receivables

        5    that the business has not yet collected?

        6                      MR. BERMAN:     Objection.

        7                      You can answer, if you understand.

        8                      THE WITNESS:     I don't know.

        9    BY MR. PROPER:

       10    Q.       What's the definition of a receivable?

       11    A.       I don't even know what you're talking about

       12    right now.

       13    Q.       Do you know what a receivable is?

       14    A.       If a job happens, which there's documents and

       15    pictures and a whole bunch of things which we'll get

       16    to, I'm sure, later down the road with your client's

       17    deposition, there's documents that show the actual job

       18    that needs to be done.       The client doesn't have the

       19    money to do the job.

       20    Q.       Because she hasn't been paid yet for it,

       21    right?

       22    A.       Of course.

       23    Q.       Right.    That's what I'm getting at.

       24    A.       Of course.


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        1    Q.       Right.

        2    A.       So we pick -- give her the money to go do the

        3    job.   And when the money comes back --

        4    Q.       Exactly.

        5    A.       -- we all make a profit.

        6    Q.       So this is my question:        You, CBSG, enters

        7    into an agreement with my client, right?

        8                      MR. BERMAN:     Well, objection.      Who's

        9    the "you, CBSG"?

       10                      But you can answer, if that's a fair

       11    question.

       12                      THE WITNESS:     Uh-huh.

       13    BY MR. PROPER:

       14    Q.       CBSG enters into a relationship with my

       15    client, purchases a specific invoice, for which monies

       16    have not yet come in, right?

       17                      MR. BERMAN:     Objection.

       18    BY MR. PROPER:

       19    Q.       That's what we just established, yes?

       20                      MR. BERMAN:     Objection.

       21    BY MR. PROPER:

       22    Q.       She needs money --

       23    A.       I'm assuming that.

       24    Q.       -- because she hasn't --


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        1    A.       I'm assuming that.

        2    Q.       -- gotten paid on the job.

        3    A.       I'm assuming that.      What your client did with

        4    their money, I don't know.

        5    Q.       Got it.    So now you have an agreement, CBSG

        6    has an agreement with my client to purchase receivables

        7    that CBSG is hoping the business actually pays to my

        8    client, right?     The business that owes the receivables

        9    pays?

       10                      MR. BERMAN:    Objection.    Ask a

       11    question.

       12                      MR. PROPER:    That's the construct.

       13                      MR. BERMAN:    Is there a question?

       14    BY MR. PROPER:

       15    Q.       Here's my question:      You're only entitled to

       16    take 10 percent of the receivables you purchase on a

       17    specific invoice.     Why are you taking a fixed payment

       18    before the receivables come in?

       19                      MR. BERMAN:    Objection.

       20                      THE WITNESS:    That's incorrect.      Those

       21    are specific receivables that we owned and purchased.

       22    Your client came unsolicited to our office and sold us

       23    those receivables.

       24    BY MR. PROPER:


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        1    Q.       Let's use a specific example.

        2                             -    -    -

        3                 (Whereupon, a 5/31/18 Agreement has been

        4    marked as Exhibit LaForte-1 for identification.)

        5                              -    -    -

        6                      MR. PROPER:       You both have 5/31?    Just

        7    want to make sure I gave you the right one.

        8                      MR. BERMAN:       By "5/31," what do you

        9    mean?

       10                      MR. PROPER:       The date of the agreement,

       11    5/31/18.

       12                      MR. BERMAN:       Oh, yeah.   Why are these

       13    not Bates stamped?

       14                      MR. PROPER:       The ones that we printed.

       15                      MR. BERMAN:       Right, but how do I know

       16    this was produced in this case?         Are you making a

       17    representation on the record this has all been

       18    produced?

       19                      MR. PROPER:       Yes --

       20                      MR. BERMAN:       Okay.

       21                      MR. PROPER:       -- to the best of my

       22    knowledge and belief.

       23    BY MR. PROPER:

       24    Q.       Have you seen this document before today?


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        1    A.       Nope.

        2    Q.       Were you involved in the particular

        3    transaction that's identified in LaForte-1?

        4    A.       I don't recall.

        5    Q.       On Page 2 of the agreement, it sets forth the

        6    terms of what's titled a "Factoring Agreement"; do you

        7    see that?

        8    A.       Uh-huh.

        9    Q.       And it looks like that the invoice in question

       10    is 2946-04; do you see that on Page 2?

       11    A.       I see it.

       12    Q.       Do you know how much was owed on 2946-04?

       13    A.       I'm sure it's in her e-mails.

       14    Q.       Okay.    What did CBSG do to determine what

       15    monies were owed on invoice 2946-04?

       16    A.       Probably not enough.

       17    Q.       What did CBSG do to determine how much monies

       18    have been paid in that invoice at the time this

       19    agreement was executed?

       20    A.       I wouldn't know what CBSG did on any specific

       21    invoice.    I'm not an underwriter for the company.

       22    Q.       What does CBSG do, to your knowledge, to

       23    determine when monies are paid on this particular

       24    invoice, 2946-04?


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        1    A.       What?    I don't understand.

        2    Q.       How does CBSG determine when monies are paid

        3    to HMC on invoice 2946-04?

        4    A.       I don't know the answer to the question.

        5    Q.       Because under this agreement, CBSG's entitled

        6    to take 10 percent of the receipts for this particular

        7    invoice, correct?

        8    A.       Does it say that?

        9                      MR. BERMAN:     Are you making that

       10    representation?

       11    BY MR. PROPER:

       12    Q.       I thought that's what you testified

       13    previously, that it's your understanding that my

       14    client --

       15    A.       Does that say that, though?         You just mixed

       16    that up, though.      You said this specific receivable.

       17    Then you said receipts purchased.

       18    Q.       I'm asking you, your understanding of this

       19    agreement was CBSG buying an interest in this

       20    particular invoice, 2946-04, or all of my client's

       21    receivables?

       22    A.       I can't speak for CBSG, but I would -- I don't

       23    know.

       24    Q.       So when you testified previously that CBSG was


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        1    acquiring a 10 percent interest in particular invoices,

        2    does that apply to this transaction?

        3                      MR. BERMAN:    Objection;

        4    mischaracterization.

        5                      THE WITNESS:    I didn't testify to that.

        6    BY MR. PROPER:

        7    Q.       You didn't testify to that?

        8    A.       That CBSG bought 10 percent of the invoice?

        9    Q.       Right.

       10    A.       I don't know what that means.

       11    Q.       You don't know what buying 10 percent of a

       12    particular receivable due to an invoice --

       13    A.       That's a holdback.      It's not 10 percent of the

       14    receivable.    So, Jason --

       15    Q.       Justin.

       16    A.       Justin, whatever your name is.

       17                      If you're going to talk to me about

       18    factoring agreements, you really have to be a little

       19    bit more educated on what -- not 10 percent of the

       20    receivable.    The holdback is the 10 percent of the

       21    client's income.     That's what the holdback means.         It's

       22    not 10 percent of the invoice.        So you really got to

       23    educate yourself on the product.        10 percent means that

       24    the client will, at minimum, pay 10 percent of their


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        1    monthly income in order to pay off the invoice.

        2    Q.        Where does it say that?

        3    A.        In the whole document.      Read it.

        4    Q.        Where?

        5    A.        I don't know.    I'm not a lawyer, but that's

        6    what it is.    10 percent is right here.       Daily specified

        7    amount is 1907 on this invoice.        So that means that

        8    10 percent, the specific percentage is of the client's

        9    income, which was analyzed by underwriting.          So you're

       10    asking me questions about underwriting that I can't

       11    specifically answer on that specific day, but that's

       12    what that manes.

       13    Q.        What are you -- what are you looking at to

       14    determine that it's not 10 percent of the specific

       15    invoice that's being calculated but 10 of my client's

       16    income?

       17    A.        Because it's not.     It's in the document.

       18    10 percent of the income.       Specified percentage,

       19    10 percent.    Future receivables.      So future receipts of

       20    seller's recourse.      Seller's recourse, right?       So

       21    buying future receivables.       In this specific case, she

       22    pledges this invoice, 2946-04.

       23    Q.        Pledges it for what?

       24    A.        To pay back the amount that she borrowed.          She


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        1    borrowed 173,000, I guess, right?        Owes 27; is that the

        2    purchase price?

        3    Q.       She pledges this invoice.       So does that mean

        4    that CBSG only gets paid when my client gets paid on

        5    this invoice?

        6                      MR. BERMAN:    Objection.

        7                      THE WITNESS:    I don't know how they

        8    collect it.    I don't know that.

        9    BY MR. PROPER:

       10    Q.       That's my question to you.

       11    A.       I don't know the answer to that.         I'm the

       12    originator.    I don't know how to answer that, but I do

       13    know how to read a contract.

       14                      So if your client was -- in this case,

       15    on that specific day, told CBSG/Par Funding that she

       16    makes approximately $2,000 a day, 20 days in a month, I

       17    guess that's how much, guys.       40 grand a month,

       18    10 percent of that would mean your client's income was

       19    probably around $400,000 a month, 10 percent.           So

       20    that's how factoring works.       Keep writing, guys, so you

       21    can learn.    So that's how -- that's how the contracts

       22    work.

       23                      So on that -- any given day -- and, by

       24    the way, your client does do $400,000 a month.           As a


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        1    matter of fact, I received their bank statements a few

        2    days ago looking for more cash advances and they're

        3    doing $600,000 a month now.        So I'm sure at that time,

        4    when her business was at her height, they were doing

        5    more than $400,000 a month.        So that is a correct and

        6    appropriate holdback.

        7    Q.        How does CBSG determine what a business's

        8    income is?

        9    A.        I don't -- I don't underwrite for CBSG.          I

       10    just know how to read a contract.

       11    Q.        What is the -- what is the definition of

       12    income in this agreement?        I don't even see the word

       13    "income."

       14    A.        I don't know.

       15                      MR. BERMAN:     Objection.

       16    BY MR. PROPER:

       17    Q.        What's the definition of income in this

       18    agreement?    Educate me.

       19    A.        I don't know.     I don't know definitions of

       20    income.

       21    Q.        Is there a definition of income in this

       22    agreement, LaForte-1?

       23    A.        So if you're eluding to the fact that how much

       24    of it is profit, it's irrelevant.         It's future


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        1    receivables.    It's right here.      10 percent, that is a

        2    specified percentage.      10 percent of their income.        She

        3    must have proved out somewhere that she works more than

        4    10 percent or I think her doors would probably be

        5    closed at this point.

        6    Q.       10 percent of what future receivable?

        7    A.       Well, her future receivables, plus this --

        8    plus this invoice was pledged.        This is a pledge.      The

        9    invoice is pledged.

       10    Q.       If you're purchasing 10 percent of future

       11    receivables, you, being CBSG --

       12    A.       We're not purchasing 10 percent of future

       13    receivables.    You keep saying that.       That's incorrect.

       14    Q.       What did you purchase --

       15    A.       We're buying future receivables.         We're taking

       16    back 10 percent of the client's income on a monthly

       17    basis in order to pay back the money the client

       18    procured.

       19    Q.       So what receivables were purchased on

       20    LaForte-1?

       21    A.       I don't know.

       22    Q.       Just the receivables --

       23    A.       I told you I didn't even read this.

       24    Q.       I'm asking you to look at it now, please.


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        1                      Did CBSG just purchase receivables for

        2    invoice 2946-04 or did it purchase all of my client's

        3    receivables?

        4    A.       Maybe both.

        5                      MR. BERMAN:    Objection.

        6    BY MR. PROPER:

        7    Q.       I'm asking --

        8    A.       Maybe both.

        9    Q.       -- what did it do?

       10    A.       I don't know.     I'm not CBSG.     Maybe both.

       11    Q.       Well, looking at the agreement, you said you

       12    can read the agreement and I'm basically saying I don't

       13    understand it --

       14    A.       Maybe both.

       15    Q.       -- and I'm asking you to educate me.

       16    A.       I don't know.     Maybe both.     Ask them.

       17    Q.       I'm not asking maybes, could have, would have,

       18    should have's.

       19    A.       I'm just saying --

       20                      MR. BERMAN:    He's a fact witness.      You

       21    keep on asking him to testifying on behalf of --

       22                      COURT REPORTER:     Hold on a second.      I

       23    can't get all of you talking over each other.           So if

       24    you can try to just slow down a little bit.


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        1    BY MR. PROPER:

        2    Q.       Do you know what receivables CBSG purchased on

        3    this particular transaction, LaForte-1?

        4    A.       I don't know.     Why don't you look in the book

        5    of gratitude that your client gave us, the big book of

        6    gratitude when she came to our office, and look and see

        7    which job it was because I don't know.         There was 48

        8    transactions.     I don't know which specific receivables

        9    this is, Number 1; and Number 2, I'm not an underwriter

       10    for the company, so how would I know?

       11    Q.       And I still want to know your understanding as

       12    to whether CBSG purchased invoice number 2946-04 or

       13    they purchased something more than invoice 2946-04.

       14                      MR. BERMAN:    Objection.

       15                      THE WITNESS:    You keep asking me that.

       16    I don't know.

       17    BY MR. PROPER:

       18    Q.       You don't know.

       19                      And it's your understanding that the

       20    10 percent daily specified amount of 190739 is

       21    10 percent of my client's daily income?

       22    A.       Monthly income, not daily income.

       23    Q.       Got it.

       24    A.       Jason -- what's your name?        Justin?


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        1    Q.       It doesn't matter.

        2    A.       Justin, you got to learn the business before

        3    you represent these clients, especially if you're

        4    taking money from them.       It's 10 -- let me teach you.

        5    It's 10 percent of the monthly income.         So the judge

        6    has -- I'm sure his time is very precious, as is ours.

        7    So before we come to the depositions, you really got to

        8    learn the business.      10 percent is a specified daily

        9    amount according to how much the client is showing us

       10    of how much they make on a monthly basis.

       11    Q.       Okay.    So the 10 percent is the monthly gross

       12    revenue?

       13    A.       10 percent --

       14    Q.       Is it monthly gross revenue?

       15    A.       I'm not an underwriter, but it says 10 percent

       16    gross -- I don't know.

       17    Q.       You don't know the --

       18    A.       I'm not an underwriter.       I don't know.     You're

       19    asking me to formulate an opinion on how a company

       20    underwrites.     There's companies all over the United

       21    States that underwrite differently.         I don't know how

       22    they come up with their decisions.

       23    Q.       So you don't know how CBSG underwrote this

       24    particular transaction?


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        1    A.       I have no idea.

        2    Q.       Do you know what underwriter was involved in

        3    this transaction?

        4    A.       No.

        5    Q.       Do you know who Dean Vagnozzi is?

        6    A.       No.    Of course I know Dean Vagnozzi.         You

        7    asked me that last time.       It was the same question.

        8    Q.       What does Dean Vagnozzi do on -- what does

        9    Dean Vagnozzi do on behalf of CBSG?

       10    A.       Nothing.

       11    Q.       He doesn't promote for CBSG?

       12                      MR. BERMAN:     Objection.

       13                      You can answer.

       14                      THE WITNESS:     Dean Vagnozzi does

       15    nothing -- when you say does Dean do anything -- Dean

       16    Vagnozzi is not an employee of CBSG.

       17    BY MR. PROPER:

       18    Q.       Does Dean Vagnozzi raise money for CBSG?

       19    A.       Yes.

       20    Q.       Okay.    Do you know how much money Dean

       21    Vagnozzi raised for CBSG in 2019?

       22    A.       No.

       23    Q.       Did Dean Vagnozzi raise any money for CBSG, to

       24    your knowledge, in 2019?


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        1    A.       I wouldn't know.      I don't know.

        2    Q.       Does Dean Vagnozzi have a contract with CBSG,

        3    to your knowledge?

        4    A.       I wouldn't know that.       I'm not in -- I'm not

        5    in the legal department.       I'm a sales rep for

        6    Recruiting and Marking Resources.        I wouldn't know if

        7    Dean Vagnozzi has a specific contract.         I know Dean and

        8    that's --

        9    Q.       Did you introduce Mr. Vagnozzi to CBSG?

       10    A.       No.

       11    Q.       Do you know how CBSG and Mr. Vagnozzi first

       12    met?

       13    A.       No.

       14    Q.       Do you know when Mr. Vagnozzi first started

       15    raising monies on behalf of CBSG?

       16    A.       No.

       17    Q.       When did you first meet Dean Vagnozzi?

       18    A.       I don't remember.

       19    Q.       Did you meet him on -- at a golf course?

       20    A.       I don't remember.

       21    Q.       Did you ever tell Mr. Vagnozzi that you were

       22    in a business of lending money?

       23    A.       I don't remember.

       24    Q.       Did you ever tell Mr. Vagnozzi that you were


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        1    the owner of CBSG?

        2    A.       I don't remember.

        3    Q.       Did you ever tell Mr. Vagnozzi that CBSG loans

        4    money to businesses at 35 percent interest rates?

        5    A.       I don't remember.

        6    Q.       Does CBSG loan money to businesses at

        7    35 percent interest rates?

        8    A.       There is no interest rates.        It's not a loan.

        9    So when you go back to this, Justin/Jason, this

       10    document right here says specifically -- and this is

       11    another thing you guys need to really take a look at --

       12    it's a purchase of future receivables.         It's not a

       13    loan.

       14                      As a matter of fact, this has already

       15    been brought up in about 230 different cases throughout

       16    the United States, and all have been upheld.           So for

       17    you to say that this is a loan is just not true.

       18                      As a matter of fact, a judge in New

       19    York, one of your partners just told him it could never

       20    be a loan.    So I -- if you are somehow insinuating that

       21    these are loans, we can debate this all day, but what I

       22    would suggest that you do is I suggest that you stop

       23    pandering to the Courts and go to the legislative

       24    branch of government and make it a law.          And if you do


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        1    make it a law, I'm sure myself and all the other

        2    companies would be happy to comply with the law.

        3                      I mean, you started to do that.        You

        4    started to go to the legislative branch of government

        5    and they didn't do anything for you guys, but you

        6    should stay that way.      You're trying to try -- make a

        7    law through the judicial branch of government and it's

        8    wrong.   So you're wasting time.       This is not a loan.

        9    It's a purchase and sale of future receivables.           It

       10    says it right here.

       11    Q.       Has Par Funding ever loaned money to

       12    businesses, to your knowledge?

       13    A.       We don't loan money.      We purchase future

       14    receivables.    I say "we."     I said, "we."     RMR, who I

       15    work for, we go out and procure different receivables.

       16    People sell their receivables the same way you sold

       17    your receivables, your client sold their receivables to

       18    you.   Because, technically, if you win this case for

       19    $3 million, that would be a receivable.          You're putting

       20    time in right now and you're spending money, which is a

       21    good way of doing business.       It's American.     And you're

       22    going to go sit here and this is going to be thousands

       23    and thousands of dollars and when -- and if you ever

       24    won this case, you would get a contingency fee on top


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        1    of the 30,000 you guys took from your client, by the

        2    way, the 30,000 you charged the -- your client, Kara

        3    DiPietro.

        4    Q.       Do you know if Par Funding has ever loaned

        5    money?

        6    A.       We just went through all that.

        7    Q.       That's a no?

        8    A.       That's -- we just went through all that.          So

        9    don't tell me how to answer.       Don't tell me what to

       10    say.    Don't ever tell me what to say.       Watch your

       11    mouth.   It's enough.

       12                      Now, I got a question for you.        When is

       13    it okay for a client to take a cash advance?

       14                      MR. PROPER:    Can you mark this, please.

       15                      THE WITNESS:    When is it okay for a

       16    client to take a cash advance?        Is it okay to get you

       17    paid?    Because you dimwits, your client took a cash

       18    advance in order to pay you last month.          Did you tell

       19    the judge that?     Your client went out, borrowed $50,000

       20    from a cash advance company and then wired the money to

       21    White & Williams.     So it's okay when you guys -- the

       22    hypocrisy that you guys -- the fraud and the hypocrisy

       23    that you guys portray is ridiculous.

       24                      So you, Justin, Jason, whatever your


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        1    name is, in your Ivy League suit, just took $50,000

        2    from a cash advance company, put it in your escrow

        3    account or wherever you put it here.         I think you

        4    should recuse yourself from the case if that's true.

        5    Did you take a cash -- did you take money from

        6    Ms. DiPietro in the form of cash advance?

        7                      MR. PROPER:     Can you mark that as

        8    Exhibit 2, please.

        9                              -   -   -

       10                 (Whereupon, a Par Funding About Us Page has

       11    been marked as Exhibit LaForte-2 for identification.)

       12                              -   -   -

       13    BY MR. PROPER:

       14    Q.       Have you ever seen Exhibit 2 before from Par

       15    Funding's Facebook page?

       16    A.       Par Funding, I don't even know if it has a

       17    Facebook page.

       18    Q.       I'm representing to you that I printed this

       19    off of Par Funding's Facebook page.

       20                      MR. BERMAN:     Did you produce this in

       21    this case?

       22                      MR. PROPER:     I don't know if it's been

       23    requested and I don't know that it matters.          I'm asking

       24    the witness a question about the Par Funding --


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        1                      THE WITNESS:    I've never seen it, but

        2    Facebook -- anybody can make a Facebook page for any

        3    different business.      I've had -- I've had my own name,

        4    five people with my own name.        You can put anything on

        5    Facebook.    This is not even a -- I don't even want to

        6    look at this.     This isn't an appropriate document.         I

        7    can make a Facebook page today for White & Williams and

        8    put this on there right now.       So this is -- I don't

        9    know.   Why am I looking at this?

       10    BY MR. PROPER:

       11    Q.       Has Par Funding ever represented to the public

       12    that Par Funding is not a merchant cash advance

       13    company, to your knowledge?

       14    A.       I wouldn't know what Par Funding represents

       15    because I don't work for Par Funding.

       16    Q.       Okay.    Do you know if Par Funding ever

       17    represented on its Facebook page as shown on Exhibit --

       18    A.       I don't even know about Par Funding's Facebook

       19    page.   I don't even have a Facebook page.

       20    Q.       Can you take a look --

       21    A.       I don't even know how to use Facebook.          I

       22    don't even know what Facebook is.

       23    Q.       Can you take a look at Exhibit 2 where it

       24    states, "Loan size, 5,000 to $150,000"; do you see


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        1    that?

        2    A.       Yup.

        3    Q.       Do you see where it says, "About us:           Par

        4    Funding's goal is to get you the working capital you

        5    need to run and grow your business and to do it while

        6    providing the highest degree of personal professional

        7    services"?

        8    A.       I'll answer the question if you tell me if one

        9    of the corporate members of our company and our

       10    compliance department approved this.          Before that, I'm

       11    not going to answer any questions about this garbage

       12    right here that anybody, a competitor, anybody, you,

       13    any of your clandestine operations could have put this

       14    on my website.     That is not a document that I'll even

       15    answer to because it's on Facebook.

       16    Q.       What was your role --

       17    A.       Is Facebook an official corporate website?            Is

       18    that what you're saying?

       19    Q.       What was your role with Par Funding's Facebook

       20    page in 2012?

       21    A.       Facebook.     We're talking about Facebook now.

       22                      MR. BERMAN:     Do you have any role with

       23    Par Funding's Facebook page is the question.

       24                      THE WITNESS:     I don't have Facebook.       I


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        1    don't know how to use Facebook.

        2    BY MR. PROPER:

        3    Q.       Who is the compliance person --

        4    A.       Do I look like a Facebook on here?

        5    Q.       Who is the compliance person that Par Funding,

        6    in 2012, that would have been responsible --

        7    A.       I don't know any employees of Par Funding.

        8    I'm not going to testify of things I don't know about

        9    because I won't insult the judge.

       10    Q.       If you could just let me finish my question

       11    because --

       12    A.       I have a question for you.        Did you take

       13    $50,000 in cash advances?

       14    Q.       In 2012, do you know who was responsible for

       15    compliance at CBSG?

       16    A.       Didn't we just answer that?

       17                      MR. BERMAN:     You don't know, so you can

       18    say it again.

       19                      THE WITNESS:     I don't know.

       20    BY MR. PROPER:

       21    Q.       How many employees did CBSG have in 2012?

       22    A.       Can we cut this short?        I don't know how many

       23    employees CBSG has or didn't have.         I don't know.

       24    Q.       In 2018, what role -- strike that.


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        1                      In 2019, what role did Lisa McElhone

        2    have in CBSG?

        3    A.        I don't know.

        4    Q.        Was Ms. McElhone the president of CBSG in

        5    2019?

        6    A.        I don't know.

        7    Q.        Did Ms. McElhone work for CBSG in any capacity

        8    in 2019?

        9    A.        I don't know anything about any of these

       10    questions about CBSG.       I don't work for CBSG.       I work

       11    for Recruiting and Market Resources.

       12    Q.        Yeah, I'm just wondering if you --

       13    A.        We went over that already.

       14    Q.        Okay.   I'm wondering if you knew --

       15                      COURT REPORTER:      Hold on, please.     I

       16    cannot get you both at the same time.          This transcript

       17    is going to be a mess right now if this doesn't stop.

       18    I'm trying my hardest, but this is getting really bad.

       19                      MR. PROPER:     We'll give you a big tip

       20    after.

       21                      COURT REPORTER:      I know, but it doesn't

       22    matter.    It's making my work way worse.

       23    BY MR. PROPER:

       24    Q.        If you could please try to let me finish my


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        1    question before you answer even if you anticipate it.

        2                      MR. BERMAN:     And the same for you.

        3                      MR. PROPER:     I have done that.

        4    BY MR. PROPER:

        5    Q.        Can you please let me know whether you know

        6    whether your wife, Lisa McElhone, had any involvement

        7    with CBSG in 2019.

        8    A.        No.

        9    Q.        You don't know or she didn't?

       10    A.        I don't know any answers to these questions

       11    about Par Funding/CBSG.

       12    Q.        Did your wife own any businesses in 2019?

       13    A.        I don't know what she owns and doesn't own.

       14    Q.        Okay.   You ever hear of a company called

       15    Lacquer Lounge?

       16    A.        No, I never heard of Lacquer Lounge.

       17    Q.        Is there a hair salon or nail salon that your

       18    wife does own?      I may have the name wrong.

       19    A.        Yeah, the name is Lacquer Lounge.          Don't ask

       20    me ridiculous questions.        You're wasting time.       She

       21    owns a nail salon in Old City.

       22    Q.        When did she purchase the nail salon --

       23    A.        I don't know.

       24    Q.        -- in Old City?


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        1    A.       I don't know her business.

        2    Q.       If you could please try to let me --

        3    A.       We have a very --

        4    Q.       -- ask my questions.

        5    A.       We have a very private business relationship.

        6    She doesn't tell me about her business.          I don't tell

        7    her my business.     We have a very loving, beautiful

        8    relationship, two dogs and a house.         We don't talk

        9    business.

       10                      Did you guys really take $30,000 from

       11    Kara DiPietro?     Do you guys -- do you idiots really

       12    realize that she took a cash advance two days before

       13    that in order to pay you guys?        Do you guys know that?

       14    Why don't they recuse themselves?        Because you guys

       15    benefited and guess what?       I don't -- I'm not even

       16    against it.    I think it's American.       God bless you

       17    guys.   You guys took a cash advance from -- your client

       18    took a cash advance to pay you guys, big White &

       19    Williams.    You guys should do your homework a little

       20    bit better before you take money from these clients.

       21    Q.       So just so we're clear, you are not a part of

       22    the founding of CBSG, along with your wife, in 2012?

       23    A.       We answered that question earlier.

       24    Q.       Got it.    And do you know if your wife was the


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        1    person responsible for accounting for CBSG in 2012?

        2    A.       We answered that question in the last

        3    deposition.

        4    Q.       Did you run the factoring side of the business

        5    for CBSG in 2012?

        6    A.       I never ran any business for CBSG.         I work for

        7    Recruiting and Marketing Resources.

        8    Q.       Go it.    And do you know if your wife ceased

        9    having any involvement with CBSG when she purchased

       10    Lacquer Lounge in 2012?

       11    A.       I don't know.

       12                      MR. PROPER:     Okay.   Can you have this

       13    marked, please, LaForte-3.

       14                              -   -   -

       15                 (Whereupon, a Declaration of Lisa McElhone

       16    has been marked as Exhibit LaForte-3 for

       17    identification.)

       18                              -   -   -

       19    BY MR. PROPER:

       20    Q.       Do you have any recollection of a lawsuit that

       21    your wife and yourself were involved with in the United

       22    States Bankruptcy Court for the Southern District of

       23    California, Santa Ana Division involving South Coast

       24    Behavioral Health?


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        1    A.       No.

        2    Q.       Are you aware that there was an order for

        3    contempt issued against you in connection with

        4    violating a bankruptcy stay?

        5    A.       No.

        6    Q.       Okay.

        7    A.       I don't handle the league, I guess.

        8    Q.       Have you ever seen this declaration that was

        9    submitted on behalf of your wife in connection with

       10    this matter?

       11    A.       No.    She doesn't show me her business.

       12    Q.       Okay.    On Page 3, do you recognize that as

       13    your wife's signature?

       14    A.       I don't know.      I'm not going to -- I don't

       15    know her signature.

       16    Q.       Okay.    Are you aware that in this declaration,

       17    your wife represented that, "Joseph LaForte and I are

       18    married and live in Haverford, Pennsylvania"; is that

       19    true?

       20    A.       Yeah.

       21    Q.       Okay.    Your wife then represents in Paragraph

       22    5, "We founded Complete Business Solutions Group d/b/a

       23    Par Funding in or around 2012."

       24    A.       She just likes -- she probably just likes to


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        1    include me.    And she's being very nice.        For a nice

        2    business that she started herself, she just likes to

        3    include me.    I am her husband.

        4    Q.       Okay.    I just want to ask specifically about

        5    this representation.

        6    A.       I don't think you should ask about my marital

        7    life, though.     I don't really see how that's relevant

        8    here.   What my wife says that we do together is

        9    irrelevant.    It's HMC, you should represent them.          They

       10    gave you 30,000 bucks.

       11    Q.       Ms. McElhone represents in Paragraph 5 that,

       12    "We founded Complete Business Solutions Group, d/b/a

       13    Par Funding in or around 2012"; is that a true

       14    statement?

       15    A.       Whatever my wife says is a thousand percent

       16    true.

       17    Q.       Okay.

       18    A.       So why don't we -- I'm not answering any of

       19    these -- any more of these questions.

       20    Q.       Okay.    So --

       21    A.       Whatever my wife says is true.

       22    Q.       Okay.    So you did -- you were part of the --

       23    A.       Whatever my wife says is true.

       24    Q.       "Mr. LaForte ran the factoring side of the


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        1    business and I handled the accounting for less than a

        2    year"; is that true?

        3    A.       Whatever my wife says is true.

        4    Q.       Okay.    So just to be clear, you previously

        5    testified under oath that you were not involved in any

        6    aspect of CBSG's business and you repeatedly testified

        7    to that.    Your wife states in this declaration that you

        8    ran the factoring side of Complete Business Solutions

        9    Group's business.     Which is true?

       10                      MR. BERMAN:    Objection.     That's not

       11    what it says, so read the words.

       12    BY MR. PROPER:

       13    Q.       "Mr. LaForte ran the factoring side of the

       14    business."    Did you run the factoring side of the

       15    business?

       16    A.       Whatever my wife says is true.

       17    Q.       So that's true?

       18    A.       She wants me to feel -- if she wants me to

       19    feel like she makes me feel good, it's similar to this,

       20    Jason --

       21                      What's his name?     Jason?

       22                      It's similar to your wife telling you

       23    you look great today.      It's just a nice compliment she

       24    probably just gave me.      She's very nice to me, my wife.


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        1    I'm really not that good in business, but she really

        2    does try to help me along and try to put me onto

        3    equally -- coequal with her.        It's very nice of her.

        4    BY MR. PROPER:

        5    Q.       What were you doing, exactly, in 2012 when you

        6    were running the factoring side of the business?

        7                      MR. BERMAN:     Objection.

        8                      THE WITNESS:     What does the

        9    factoring -- does it even mean, "the factoring side of

       10    the business"?     What is the factoring side of the

       11    business?

       12    BY MR. PROPER:

       13    Q.       This is what your wife said.         If you don't

       14    understand what the factoring side of the business is,

       15    then I guess you can't answer it.

       16    A.       I can't answer it.

       17    Q.       Okay.    So when you said that it must be true

       18    that you were running the factoring side of the

       19    business, you can't really say if that's true or not,

       20    you don't even know what factoring side means?

       21    A.       Not really, no.

       22    Q.       Okay.    And then your wife states in Paragraph

       23    6 that, "I hired Joe Cole, the current CFO of CBSG, to

       24    replace me in 2012," do you know if that's true?


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        1    A.       I wouldn't know anything about her business.

        2    Q.       Okay.    "At that time, I started a nail salon

        3    called the Lacquer Lounge," and she puts the website

        4    for Lacquer Lounge.      Is that true, to the best of your

        5    knowledge?

        6    A.       Whatever she says is a hundred percent true.

        7    Q.       Okay.    And then she states in Paragraph --

        8    A.       Great place, too.

        9    Q.       And then she states in Paragraph 7, "I have

       10    worked full time at the Lacquer Lounge since its

       11    inception and have had no subsequent involvement in

       12    CBSG despite the fact that I was never formally removed

       13    as its president.     Is that a true statement?

       14    A.       I don't know.

       15    Q.       Okay.    Because Mr. Cole testified that he had

       16    daily communications with your wife about running the

       17    business and here your wife is saying that she has

       18    nothing to do with the business.        Do you know why

       19    Mr. Cole would say that?

       20    A.       That's not what that says.

       21    Q.       What does it say?

       22    A.       That's not what it says.

       23    Q.       "I have had no subsequent involvement in

       24    CBSG" --


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        1    A.       Subsequent involvement, what does that mean?

        2    Q.       It means after 2012, she hasn't been involved

        3    in the business.     That's what it means.

        4    A.       She was never formally removed as the

        5    president.    She could -- listen, I don't know -- I

        6    don't know where you -- I don't even know -- I don't

        7    even know where you're going with this line of

        8    questioning.    You have to ask these other -- these

        9    other people.     I don't even know what this is.

       10    Whatever my wife says is true.

       11    Q.       So it's true that your wife has had nothing to

       12    do with CBSG since she purchased Laquer Lounge?

       13    A.       I don't know.

       14    Q.       Got it.

       15    A.       Is that illegal?      Is that illegal?     You

       16    can't -- you have to work in the Laquer Lounge, girl.

       17    Is that illegal?     Who the president is, who this and

       18    that.   This poor client, I feel bad for the 30,000 they

       19    paid.

       20    Q.       Is your wife still the president of CBSG?

       21    A.       I don't know.

       22    Q.       What involvement, if any, did your wife have

       23    with respect to the transactions with my client?

       24    A.       I don't know.


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        1    Q.        Did you attend an event hosted by Dean

        2    Vagnozzi at the Sheraton Valley Forge Hotel last year?

        3    A.        Possibly.    I went to -- I go to a lot of

        4    events.

        5    Q.        Okay.   How often do you go to fundraising

        6    events that Dean Vagnozzi hosts on behalf of CBSG?

        7                      MR. BERMAN:     Objection.

        8                      THE WITNESS:     I don't know.

        9    BY MR. PROPER:

       10    Q.        How many have you been to in the past two

       11    years?

       12    A.        I couldn't -- I couldn't answer that question.

       13    Q.        More or less than one?

       14    A.        I don't want to lie, so I don't know.

       15    Q.        Okay.   How many events can you think of, as

       16    you sit here today, that you've been to that

       17    Mr. Vagnozzi has hosted where he's tried to solicit

       18    monies on behalf of CBSG?

       19    A.        I don't know.

       20    Q.        Have you been to any?

       21    A.        Yes.

       22    Q.        More or less than one?

       23    A.        I don't remember.

       24    Q.        Okay.   Are you aware that we have video of you


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        1    speaking at one of these events?

        2    A.       Great.

        3    Q.       Have you seen the video?

        4    A.       No.    I don't watch videos of myself.

        5    Q.       Last November, did you speak to a room full of

        6    investors and potential investors trying to raise

        7    monies on behalf of CBSG?        Yes, no or you don't know?

        8                      MR. BERMAN:     Don't answer the question.

        9    It's October 2019.

       10                      MR. PROPER:     You're directing him not

       11    to answer the question?

       12                      MR. BERMAN:     I am.

       13                      MR. PROPER:     Okay.

       14    BY MR. PROPER:

       15    Q.       With respect to the event in November of 2019,

       16    did you represent to the room full of investors that

       17    you were the owner of CBSG?

       18                      MR. BERMAN:     Don't answer the question.

       19                      Call the judge.

       20                      MR. PROPER:     Okay.   I'm just going to

       21    move for sanctions, but I'm going to establish --

       22                      MR. BERMAN:     Do whatever you want.

       23                      MR. PROPER:     -- how many questions

       24    you're going to direct him not to answer.


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        1                      MR. BERMAN:     Do whatever you want.

        2    I've told you to call the judge at any time you want.

        3    The judge made very clear --

        4                      MR. HESKIN:     That's not how it works.

        5                      MR. BERMAN:     -- the relevant time

        6    period is October of 2019.        As the judge made very

        7    clear at the last hearing, he's available at any time

        8    for these phone calls.       Plus the basis for the

        9    objection is a court order limiting the scope of

       10    discovery in this case, so --

       11                      MR. PROPER:     I'm going to say it again.

       12    The order you're reading from is limited to a 30(b)(6)

       13    deposition.     It has nothing to do with this issue.

       14                      MR. BERMAN:     We're very comfortable if

       15    there's any confusion, call the judge.          I welcome you

       16    to do it.

       17                      MR. PROPER:     I don't have confusion

       18    because I'm able to read an order and what the

       19    limitations and scope of that order is.

       20                      MR. BERMAN:     Limitations in scope are

       21    discovery in this case.       You interpret it however you

       22    want to interpret it.

       23                      MR. PROPER:     I am.   I will.

       24                      MR. BERMAN:     We'll interpret it -- if


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        1    there's confusion, call the judge.

        2    BY MR. PROPER:

        3    Q.       Have you ever represented to an investor or

        4    potential investor of CBSG that you owned the company?

        5                      MR. BERMAN:    Objection.

        6                      But answer, if you know.

        7                      THE WITNESS:    No.

        8    BY MR. PROPER:

        9    Q.       To your knowledge, have you ever --

       10    A.       I didn't represent that to anybody.

       11    Q.       Have you ever told anyone, to your knowledge,

       12    that you are an owner of CBSG?

       13    A.       Doubt it, no.     Maybe I bragged a little.       Is

       14    that what you're getting at, do I brag to people?

       15    Q.       I'm not asking whether you brag --

       16    A.       Do I brag around; is that what you're asking

       17    me?   Am I a braggart?     No.

       18    Q.       Okay.    Have you ever represented to an

       19    investor or potential investor of CBSG at any time that

       20    you owned the company?

       21    A.       No.

       22    Q.       Because that would be a lie, correct?

       23    A.       Would it be a lie?

       24    Q.       To say you own CBSG, that would be a false


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        1    statement, correct?

        2    A.       I just said that, right?

        3    Q.       Got it.

        4    A.       Yeah.

        5    Q.       You're agreeing with me, that would be a false

        6    statement?

        7    A.       It would be -- it would also be a false

        8    statement for you to say you don't take fees from my

        9    clients.    My clients, by the way.      That would be a lie,

       10    too, right?

       11                      Remember you said in the deposition

       12    last time, Shane, you guys don't take the fees?           You

       13    took 30 grand from this lady.        Is that a lie?

       14    Q.       Have you ever represented to an investor or

       15    potential investor that you personally --

       16    A.       I don't remember every conversation I've ever

       17    had with anybody.     I talk to thousands of people.          I

       18    don't remember what I said and didn't say.          Do I go

       19    around saying I own Par Funding/CBSG?         No.   Do I own

       20    Par Funding/CBSG?     No.   Those are the answers.       So

       21    we're wasting time.

       22    Q.       Just let -- if you could please let me finish

       23    my question.

       24    A.       You want to eat up the retainer fees.


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        1    Q.       Have you ever represented to an investor or

        2    potential investor that you personally contributed

        3    $500,000 of your own money to start CBSG?

        4    A.       I don't know.

        5    Q.       Have you ever said that?

        6    A.       I don't know.

        7    Q.       You wouldn't say that because it's not true,

        8    right?

        9    A.       When would I say it or why?         Give me a case.

       10    Who?

       11    Q.       I'm just asking --

       12    A.       I can answer the question.        What's the name?

       13    Who?   I'm asking you who the guy is so I can answer it

       14    properly.    Maybe I don't even know what you're talking

       15    about.   Who's the guy?      Who did I say it to so I can

       16    answer it properly?

       17    Q.       I asked a question.

       18    A.       It's a general question.        I don't know what I

       19    said and didn't say.

       20                      MR. BERMAN:     He doesn't know.

       21    BY MR. PROPER:

       22    Q.       But there's no reason you would ever represent

       23    to anyone --

       24    A.       I don't know what I said.        I don't know.


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        1    Q.       Can I finish my question, please.

        2    A.       It's going to be "I don't know," so go.

        3    Q.       There would be no reason that you would ever

        4    represent to an investor or potential investor of CBSG

        5    that you contributed $500,000 --

        6    A.       I don't know.

        7    Q.       -- to start the company because --

        8    A.       I don't know.

        9    Q.       -- you've never contributed monies to start

       10    the company, right?

       11    A.       I don't know.

       12    Q.       I thought you testified before you've never

       13    contributed monies --

       14    A.       I don't know.

       15                      COURT REPORTER:      Hold on a second.

       16    BY MR. PROPER:

       17    Q.       Can I please finish my question.

       18                      COURT REPORTER:      I can't keep going

       19    like this.    It's been the whole time.        You know, I'm

       20    only one person.      I've been doing this 22 years.        This

       21    is really out of control.

       22    BY MR. PROPER:

       23    Q.       Did you previously testify at this deposition

       24    that you did not contribute any of your own money to


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        1    start CBSG?

        2    A.       That's correct.

        3    Q.       Okay.    So, to your knowledge, have you ever

        4    tried to deceive an investor by representing that you

        5    did contribute your own money to start the business?

        6                      MR. BERMAN:    Objection.

        7                      If you know.

        8                      THE WITNESS:    Who?

        9    BY MR. PROPER:

       10    Q.       Any investor.

       11    A.       Who?

       12    Q.       Any investor.

       13    A.       I don't know who.      I don't know.     I don't know

       14    who these people are.      I don't know what you're talking

       15    about, so I can't answer the question.

       16    Q.       Do you know who an investor is?

       17    A.       Do I know what an investor is?

       18    Q.       Yes.

       19    A.       No.    What's an investor?      It can be a lot of

       20    different definitions, an investor.         What, venture

       21    capital investor, equity investor, like your little

       22    finance company you guys have invested in this deal?

       23                      MR. HESKIN:    Just limit it to a person.

       24                      THE WITNESS:    Let me answer your


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        1    question.    Tell me who -- tell me who it is and I'll

        2    answer the question.

        3    BY MR. PROPER:

        4    Q.       I'm going to ask it differently.         Have you

        5    ever represented to any person that invested his or her

        6    own money in a fund created by or on behalf of CBSG for

        7    merchant cash advances that you were an owner of the

        8    business?

        9                      MR. BERMAN:    Objection.

       10                      THE WITNESS:    He just objected, right?

       11                      MR. HESKIN:    You can answer.

       12                      MR. BERMAN:    You can answer, if you

       13    know.

       14                      THE WITNESS:    I don't know.

       15    BY MR. PROPER:

       16    Q.       Did you ever or have you ever represented to

       17    any individual that's contributed monies to a fund

       18    created on or on behalf of CBSG for merchant cash

       19    advances that you contributed your own money to start

       20    the business?

       21    A.       How can -- how could -- how come --

       22    Q.       Why won't you answer my question?

       23    A.       Why won't you recuse yourself?        You guys took

       24    $30,000 from this client.       The client got the money


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        1    from a cash advance and wired you the money.           Why are

        2    we here?

        3    Q.        Why won't you answer my --

        4    A.        For cash advances?

        5    Q.        Why won't you answer my question?

        6    A.        I have 50 times.     And in the last deposition,

        7    same question.     So you're eating up the hours for the

        8    client.    Me, I don't care.     This is like a brother to

        9    me.   I don't care, but you're wasting time.         I don't

       10    remember what I said.      I don't know, but why don't you

       11    ask -- why don't you answer the question?          Why did you

       12    take 30,000 from the client?       The client got a cash

       13    advance two days before that.

       14    Q.        Would there ever be a circumstance that you

       15    would try to deceive someone that was interested in

       16    investing money into CBSG by stating that you

       17    contributed monies to form the business?

       18                      MR. BERMAN:    Objection.

       19                      THE WITNESS:    The only deception here

       20    is your client coming to my office 50 times asking for

       21    more capital.     That's the only deception.

       22                      And the other deception is you probably

       23    sent your client to go get another cash advance, by the

       24    way, that guys -- hey, this guy testified in front of


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        1    Congress, Mr. Heskin here, that these cash advances is

        2    the root of all evil.      What you did was you probably

        3    hooked up your client with a cash advance from me to

        4    get you paid.     So you're the hypocrisy.       So stop asking

        5    me questions that are hypocritical.

        6    BY MR. PROPER:

        7    Q.        I still don't have an answer to my question.

        8                      MR. BERMAN:    He's answered it three

        9    times.    He said "I don't know" --

       10                      MR. PROPER:    He has not answered my

       11    question.

       12                      MR. BERMAN:    -- "I don't know.      He has

       13    not.

       14                      THE WITNESS:    I don't know.

       15                      MR. BERMAN:    He'll say "I don't know" a

       16    third time.

       17                      THE WITNESS:    I don't know.

       18    BY MR. PROPER:

       19    Q.        That wasn't my question.      You can't answer "I

       20    don't know" to this because it's not a proper response.

       21    What --

       22    A.        I can say anything I want.       Don't you ever

       23    tell me what to say.      Watch your mouth.      Don't ever

       24    tell me what to say.      Don't ever tell me to put words


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        1    in my mouth, you or you.

        2    Q.       Would there ever be a reason -- would there

        3    ever be a reason why you --

        4                      THE WITNESS:    Careful with me.

        5    BY MR. PROPER:

        6    Q.       Are you threatening Mr. Heskin?

        7                      MR. BERMAN:    Let's just stop and ask

        8    the question.

        9                      THE WITNESS:    No, because of your

       10    mouth.   Watch your mouth.      Be a gentleman.

       11                      MR. BERMAN:    Answer the question.

       12                      THE WITNESS:    Be a gentleman.      Your

       13    tone -- the judge can't hear your tone, so don't set me

       14    up, okay?    Because I'm not a lawyer, but I'm smart

       15    enough to know what's on the record and how it reads.

       16    Your tone is out of line.       Treat me with respect.        I

       17    came here on my own merit.       I came here this morning to

       18    waste more time and I don't need to be talked to like

       19    this.    So be careful with your mouth means be careful

       20    with your mouth.     That's what it means.

       21    BY MR. PROPER:

       22    Q.       I've treated you with respect.

       23                      MR. BERMAN:    No, you're raising your

       24    voice.


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        1                      THE WITNESS:     You're raising your

        2    voice.

        3                      MR. BERMAN:     You're treating him

        4    disrespectfully.      You're asking the same question over

        5    and over.    But ask a clear question, you'll get an

        6    answer.

        7                      MR. PROPER:     Your client called me or

        8    my colleague or both a punk --

        9                      MR. BERMAN:     Just ask a question.

       10                      MR. PROPER:     -- but I'm disrespectful?

       11                      COURT REPORTER:      I got to go off the

       12    record.    I'm taking a break.

       13                      MR. PROPER:     You got it.

       14                              -   -   -

       15                      (Whereupon, the court reporter

       16    requested a break and a break was taken.)

       17                              -   -   -

       18                      MR. PROPER:     Just want to let the

       19    record reflect that after the court reporter broke,

       20    Mr. LaForte called me a fucking punk and he's leaning

       21    across the table when he's answering questions and

       22    pointing his finger at me in a way that I find to be

       23    inappropriate and very aggressive.

       24                      MR. BERMAN:     Okay.   And let's make a


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        1    clear record with you screaming and hollering at him

        2    across the table with your eyes bolting out of your

        3    head.   So records are made to be broken when you're

        4    making stuff up.      So let's continue.

        5                      THE WITNESS:     And I double down, you

        6    are a punk, so that's correct.

        7                      MR. BERMAN:     When you keep on yelling

        8    at the witness --

        9                      THE WITNESS:     When you're yelling at me

       10    and you're coming across the table at me.

       11                      MR. BERMAN:     Let's just continue.

       12                      THE WITNESS:     Because you wouldn't do

       13    it if you weren't in the Ivy League room because you

       14    would never do -- you would never behave that way.

       15    That makes you a punk.       Because if you weren't in this

       16    room, you would never do that.         That's why you're a

       17    punk.

       18                      MR. PROPER:     What would you do to me?

       19                      THE WITNESS:     I'm not going to do --

       20    that's why you're a punk.        That's why you're a punk.

       21                      MR. PROPER:     Why wouldn't I do it

       22    outside of this room?

       23                      MR. BERMAN:     We're not going further

       24    than this.


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        1                      MR. PROPER:    What's that?

        2                      MR. BERMAN:    We're not doing it --

        3    we're not doing any more on this.        Let's just continue

        4    with the questions or we'll stop the deposition and

        5    tell the judge why we stopped.

        6                      MR. PROPER:    I'm going to let the

        7    record reflect because counsel has made statements

        8    saying that I'm screaming and yelling, which is a

        9    complete distortion of reality, I've been respectful to

       10    Mr. LaForte this entire deposition.         I raised my voice

       11    for the first time in response to Mr. Berman in a

       12    statement that he made, which I apologize for letting

       13    Mr. Berman and Mr. LaForte get the better of me in that

       14    moment.   But Mr. LaForte, from the get go of this

       15    deposition, has acted in a way that has been sarcastic

       16    at the least, aggressive and threatening at the most,

       17    and his repeated references to me as a punk --

       18                      THE WITNESS:    No, you're a bully.

       19                      MR. BERMAN:    Let's just -- let's

       20    just -- let's just ask questions.

       21                      MR. PROPER:    No --

       22                      MR. BERMAN:    We're done with the

       23    record.

       24                      MR. PROPER:    -- I'm not.     On and off


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        1    the record, I feel threatened; I do.         I feel threatened

        2    and maybe that's because I'm a punk, but I don't think

        3    it's -- I've never had a deposition this way in 20-plus

        4    years.

        5                      THE WITNESS:    Because you're a bully.

        6    Because you bully people all day and you're not used to

        7    having somebody who stands up to you because you're a

        8    bully.   So what you do is you take money from my

        9    clients, you take contingency fees from my clients, you

       10    take money -- their clients take money for more cash

       11    advances and you bully people around.         That's why

       12    you're depositioning weak people, so you have somebody

       13    to say the truth about you, that you're a bully.            And

       14    your hypocrisy, by the way, is ridiculous.          Your

       15    client -- this client took another cash advance, you

       16    realize that, and you wired it into your account.            I

       17    don't even know why I'm here.        Shouldn't you guys

       18    recuse yourself for that?

       19                      MR. BERMAN:    Let's just ask questions.

       20    We heard your record.      We disagree with everything you

       21    said.    You've been yelling since the beginning, but it

       22    doesn't matter.

       23                      THE WITNESS:    I put up with more from

       24    you in this deposition than I've ever had in my life.


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        1                      MR. PROPER:    And the fact that

        2    Mr. Berman is condoning his client's behavior rather

        3    than correcting it only gives me --

        4                      THE WITNESS:    I said no one corrects

        5    me.    He can't correct me.     No one could correct me.

        6    What do you mean?     No one is going to correct me.         He

        7    can't correct me.

        8                      MR. BERMAN:    Let's -- what I'm doing is

        9    I'm asking you to ask questions at a deposition.           It's

       10    not about correcting.      I believe you've been yelling.

       11    Let's just move on and ask questions.         That's what

       12    we're here for.

       13                      MR. PROPER:    I've got witnesses from

       14    the start of the deposition.

       15                      MR. BERMAN:    Do whatever you got to do.

       16    Just ask questions.

       17                      MR. FEDULLO:    I will represent on the

       18    record that Justin's statement is true and Mr. Berman's

       19    statement is inaccurate.

       20                      THE WITNESS:    You work for the company.

       21    I'm sure you -- I'm sure you say that on the record,

       22    yes.

       23                      MR. BERMAN:    We're wasting time.      Ask

       24    questions.


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        1    BY MR. PROPER:

        2    Q.        What is CBSG's default rate in 2019?

        3    A.        I don't know.

        4    Q.        Have you ever represented to any investor or

        5    potential investor that CBSG's default rate is 1 to

        6    2 percent?

        7    A.        I don't remember.

        8    Q.        Do you know if anyone in your presence acting

        9    on behalf of CBSG has represented that CBSG's default

       10    rate is 1 to 2 percent?

       11    A.        I don't remember.

       12    Q.        What is CBSG default rate?

       13    A.        I don't know.

       14    Q.        Do you know if it's higher or lower than 1 to

       15    2 percent?

       16    A.        I don't know.     I don't work there.       Are you

       17    looking to invest in the company, asking me what the

       18    default rate is?

       19    Q.        That's a good question.

       20    A.        Yeah.

       21    Q.        Do you have any monies invested in --

       22    A.        I don't.

       23    Q.        -- CBSG currently?

       24    A.        I don't.


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        1    Q.       Did you invest any monies in CBSG in 2019?

        2    A.       No.

        3    Q.       Have you ever represented to any investor or

        4    potential investor that you have monies invested in

        5    CBSG?

        6    A.       I don't recall.

        7    Q.       If you have never -- strike that.

        8                      Have you ever invested monies in CBSG?

        9    A.       No.

       10    Q.       If you've never invested in CB-- monies in

       11    CBSG, then we can agree that there would be no

       12    circumstance that you would be representing to

       13    investors that you had invested money in the company?

       14    A.       So you're referring to -- let me teach you

       15    about finance a little bit more, guys, okay?           If you're

       16    referring to retained earnings or any kind of retention

       17    of earnings, the company can retain earnings without

       18    actually putting up money.

       19                      COURT REPORTER:     The company can what?

       20                      THE WITNESS:    Can actually have

       21    earned -- have retained earnings, which is money in the

       22    company, without actually putting in money.          So I

       23    don't -- that's probably what you're referring to.            So

       24    if you're asking about investments, that's how it


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        1    works.   There's a lot of different ways that companies

        2    can make money.     We could talk about that another time.

        3    If you're not busy, come down to my office, I'll give

        4    you a little lesson in finance.        But retained earnings

        5    are much different than an investment, right?

        6    BY MR. PROPER:

        7    Q.       Well, what type of retained earnings do you

        8    receive --

        9    A.       I don't know.     I'm just letting you know.

       10    Q.       Do you receive retained earnings from CBSG?

       11    A.       I don't receive anything from CBSG except for

       12    the money that I procure deals on as an independent

       13    operator.

       14    Q.       You mentioned that Kara DiPietro was a friend

       15    of yours, correct?

       16    A.       Uh-huh.

       17    Q.       When did you --

       18    A.       Yes, she was.

       19    Q.       -- first meet?

       20    A.       She was my friend.

       21    Q.       When did you first meet Ms. DiPietro?

       22    A.       I don't remember the day.

       23    Q.       Did you know Ms. DiPietro before she entered

       24    into a relationship with CBSG?


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        1    A.       No.

        2    Q.       Were you the one that sourced an initial deal

        3    between my client and CBSG?

        4    A.       I don't recall that.

        5    Q.       Do you know when my client first entered into

        6    a business relationship with CBSG?

        7    A.       I don't remember.

        8    Q.       Do you know what the nature of my client's

        9    business is?

       10    A.       Yes.

       11    Q.       What's your understanding?

       12    A.       Construction buildout.

       13    Q.       What does that mean, "construction buildout"?

       14    A.       What is a law firm?      It's a SIC code, right?

       15    You know what an SIC code is, Jason?         Do you know what

       16    an SIC code is?

       17    Q.       What's an SIC code?

       18    A.       Do you know?     You should know.     You're

       19    defending a client.      So if you're asking me what the

       20    construction engineering or any of these things are,

       21    you should know what your SIC code -- that's an SIC

       22    code.    You asked me what the business does.        I gave it

       23    to you -- I told you that's the SIC code.          Go and look

       24    it up.   You have to do your homework before you come to


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        1    these things and know about the business, especially if

        2    you're talking money from clients.

        3    Q.       What's an SIC code?

        4    A.       That's an SIC code.

        5    Q.       What is it?

        6    A.       You go look it up.      I'm not doing your job for

        7    you.    You go look it up.

        8    Q.       You're not going to answer my question?

        9    A.       You look it up.

       10    Q.       You're not going to answer my question?

       11    A.       You look it up.      I'm not going to do your job

       12    for you.    You got 30 grand.     I didn't get 30 grand for

       13    this.

       14    Q.       You're not going to answer that question?

       15    A.       You look it up.      I answered the question,

       16    which she does.

       17    Q.       What's an SIC code?

       18    A.       You look it up.      Learn.   Study.    You guys pass

       19    the bar exam and never study again.

       20    Q.       Think that's funny?

       21                      MR. BERMAN:    I just want you to ask

       22    questions.

       23                      MR. PROPER:    I asked him what an SIC

       24    code was.


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        1                      MR. BERMAN:     You're raising your voice

        2    to me again?

        3                      MR. PROPER:     Because you're smirking,

        4    you're smiling and you're --

        5                      THE WITNESS:     You're obnoxious and --

        6                      COURT REPORTER:      I can't get you all at

        7    the same time.

        8                      MR. PROPER:     Okay.   It's not meant as a

        9    threat.

       10                      MR. BERMAN:     This is a deposition.

       11                      MR. PROPER:     I understand that.

       12                      MR. BERMAN:     Ask questions.     Stop

       13    raising your voice at me and staring at me across the

       14    table.    It doesn't intimidate me.       Doesn't intimidate

       15    me.

       16                      MR. PROPER:     I'm not -- I'm looking at

       17    you because we're having a dialogue.

       18                      MR. BERMAN:     I have no reason to have a

       19    dialogue with you.      You're here to ask questions.

       20    BY MR. PROPER:

       21    Q.        What's an SIC code?

       22    A.        Look it up.    Do your homework.

       23    Q.        Is that a question?

       24    A.        If you're representing your client, you should


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        1    know what an SIC code is, Jason.        Look it up.

        2    Q.        That's not my name.

        3    A.        We're not telling you.      What's your name?

        4    Justin?   Justin, you should look it up.         Look up what

        5    an SIC code is and then you could figure out what your

        6    client does for a living.       It's your client.      You don't

        7    know what they do?

        8                      MR. PROPER:    I'm postponing the

        9    deposition.    I've practiced law for 20 years.         I don't

       10    need to be treated in the way that I've been treated.

       11                      THE WITNESS:    And I agree.     And I've

       12    never been spoken to like this in my life by you.

       13    Never.    No one's ever spoken to me like this.

       14                      MR. PROPER:    Spoken to you like what?

       15    I've asked you questions.

       16                      THE WITNESS:    Loud and obnoxious.

       17    Raising your eyes, reaching across the table like --

       18                      MR. PROPER:    I never reached across the

       19    table.

       20                      THE WITNESS:    Yes, you did.

       21                      MR. PROPER:    I did not.

       22                      MR. BERMAN:    Let's just answer -- ask

       23    questions.

       24                      MR. PROPER:    This deposition is over.


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        1    He gave me a pass.      It's the third time he's made a

        2    threat at me in this deposition.

        3                      MR. BERMAN:    There's been no threats.

        4                      MR. PROPER:    There has been.

        5                      THE WITNESS:    Do you lunge at -- do you

        6    lunge at people?

        7                      MR. PROPER:    I've never lunged at you.

        8                      THE WITNESS:    Do you lunge at people?

        9                      MR. BERMAN:    You did.

       10                      MR. PROPER:    Mr. LaForte, I would never

       11    lunge at you.

       12                      THE WITNESS:    Did you lunge across the

       13    table?

       14                      MR. PROPER:    I did not.

       15                      MR. BERMAN:    You sure you want to --

       16    you sure you want to stop this deposition?

       17                      MR. PROPER:    Yes, because I'm going to

       18    the judge and we will get another deposition and it may

       19    have to be Court supervised.

       20                      THE WITNESS:    I'm right here for this

       21    deposition.    Why are you leaving?      Why are you leaving

       22    the deposition?

       23                      MR. PROPER:    Because you are continuing

       24    to threaten me --


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        1                      THE WITNESS:     That's not true.

        2                      MR. PROPER:     -- in a way that's not

        3    appropriate.

        4                      THE WITNESS:     That is not true.

        5                      MR. PROPER:     We can agree to disagree.

        6                      THE WITNESS:     You just feel threatened

        7    because you're wrong.

        8                      MR. BERMAN:     Why don't you take a

        9    break, Justin?     Let's finish this deposition while

       10    we're here.     He's here today.

       11                      MR. PROPER:     I'll take five minutes.

       12                              -   -   -

       13                (Whereupon, a break was held.)

       14                              -   -   -

       15                 (Whereupon, a 5/31/19 E-mail Exchange has

       16    been marked as Exhibit LaForte-4 for identification.)

       17                              -   -   -

       18    BY MR. PROPER:

       19    Q.       Mr. LaForte, did you ever threaten to blow up

       20    my client's house if she didn't repay the money?

       21    A.       That's a ridiculous question, but I'm going to

       22    elaborate on it.      Not only are you guys at White &

       23    Williams lawyers, you guys are experts in -- you guys

       24    are experts on law enforcement, too.          Your client


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        1    already contacted every law enforcement agency up and

        2    down the East Coast.      So don't you think that law

        3    enforcement is good at doing its job, Mr. Justin?

        4    Because I'm still sitting here in front of you.           It's a

        5    ridiculous allegation and I'm not going to even justify

        6    it with an answer.

        7    Q.       So you did not threaten to blow up my client's

        8    house?

        9    A.       Of course not.     Again, I think the law

       10    enforcement does a pretty good job.         I'm sure they

       11    looked at it.     I'm sure she called everyone up and --

       12    everyone up and down the East Coast.         And, again, I'm

       13    still sitting here, so, obviously, it's a stupid and

       14    dumb allegation to make and I resent it.

       15    Q.       Can I show you what's marked as LaForte-4?

       16    There's an e-mail on the bottom of Page 1 from my

       17    client to Joe Cole and it looks like you are cc'd on

       18    this e-mail, joe@parfunding.com; is that correct?

       19    A.       Yes.

       20    Q.       Okay.    This is an e-mail dated Friday,

       21    May 3rd, 2019, at 9:52 a.m.

       22                      Did you receive this e-mail?

       23    A.       I can't even see it to know.        I open up

       24    about -- a couple e-mails.       I don't really -- I don't


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        1    know if I received it.

        2    Q.       Do you recall -- and I know that the print is

        3    small, so I'll read the first paragraph or so if that

        4    will help.

        5                      MR. BERMAN:     Very small.     Let him read

        6    it to you.

        7    BY MR. PROPER:

        8    Q.       "Joe C., it's essential I understand how you

        9    are determining our daily payment amount.           For the

       10    12/19 contract and the 2/24 contract, daily payment

       11    went from 3500 to 16,500 and $4583.00 to $19,995.             The

       12    terms say 10 percent daily amount to be determined on

       13    percent of income.      What income figure are you using?"

       14    And there's more, but I'll stop there.

       15                      Do you recall receiving an e-mail from

       16    Ms. DiPietro where she questioned how CBSG was

       17    calculating the 10 percent of income?

       18    A.       No.

       19    Q.       Do you recall having any conversations with

       20    Ms. DiPietro where she questioned how CBSG was

       21    calculating the 10 percent of income?

       22    A.       I probably had a conversation.         I don't

       23    remember the exact scope of the conversation.

       24    Q.       Did the daily payment for the 2,000 -- strike


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        1    that.

        2                      Did the daily payment for the

        3    December 2019 contract over time go from $3500 a day, a

        4    business day, to $16,500 each business day?

        5    A.       There was 48 contracts.       I don't know -- I

        6    couldn't begin to remember about one specific contract.

        7    Q.       Okay.    So with respect to this specific

        8    contract, December of 2019, I believe it was the second

        9    to the last one --

       10    A.       Uh-huh.

       11    Q.       -- do you know whether or not the daily

       12    payment increased?

       13    A.       I'm not in accounting.       I wouldn't know that.

       14    Q.       Did you have any discussions with Mr. Cole

       15    about whether or not the daily payment for the

       16    December 2019 contract increased?

       17    A.       I don't recall what happened in December of

       18    2019.

       19    Q.       Do you recall having discussions with anyone

       20    about the increase of the daily payment in the 2019

       21    contract between CBSG and my client?         And that's

       22    December of 2019.

       23                      MR. BERMAN:    Objection.

       24                      You can answer.


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        1                      THE WITNESS:    I don't remember.

        2    BY MR. PROPER:

        3    Q.       So you don't know, sitting here today, whether

        4    or not the daily payment for the December 2019 contract

        5    increased over time or not?

        6    A.       I have no idea.

        7    Q.       Do you know what CBSG did to determine or how

        8    CBSG did determine what the daily payment was for the

        9    December 2019 contract?

       10    A.       I don't remember the deal, no.

       11    Q.       Do you know what CBSG did to ascertain what

       12    the income was of my client's business in December of

       13    2019?

       14    A.       Nope.

       15    Q.       Do you know what CBSG did to determine my

       16    client's income in January of 2019?

       17    A.       I don't know.

       18    Q.       Do you know what income means for purposes of

       19    either the December 2019 or the February 2020 contract?

       20    A.       You asked me that question earlier.         Income

       21    can mean a lot of different things.         I don't know how

       22    CBSG did its underwriting on this file.

       23    Q.       Are you aware that the 2000-- strike that.

       24                      Are you aware that the December 2019


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        1    contract and the February 2020 contract both used

        2    10 percent of my client's income to calculate the daily

        3    payment?

        4                      MR. BERMAN:     Objection.

        5                      You can answer, if you understand.

        6                      THE WITNESS:    He's about to hand it to

        7    me, so I guess that's the answer.

        8                              -   -   -

        9                 (Whereupon, a 12/19/18 Agreement has been

       10    marked as Exhibit LaForte-5, a 2/27/19 Agreement has

       11    been marked as Exhibit LaForte-6, and Bank Statements

       12    have been marked as Exhibit LaForte-7 for

       13    identification.)

       14                              -   -   -

       15                      MR. PROPER:     And I made a mistake on

       16    the years.     I just want to make sure Mr. LaForte and I

       17    are on the same page and none of his answers change.

       18    When I referred to the December agreement, it was

       19    December of 2018, not '19, and when I referred to the

       20    February agreement, it was 2019, not 2020.

       21    BY MR. PROPER:

       22    Q.       With that correction, Mr. LaForte, do any of

       23    your previous answers change?

       24    A.       No.


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        1    Q.        So if you look at Page 2 of Exhibit 5,

        2    Mr. LaForte, this is the December 2018 agreement.            The

        3    middle of the page, in bold, states, "10 percent daily

        4    specified amount to be determined on percentage of

        5    income"; do you see that?

        6    A.        Yes.

        7    Q.        And then Exhibit 6 I believe has the same

        8    language.    It's the first page of Exhibit 6.

        9    "10 percent daily specified amount begins at $4,583 per

       10    day" --

       11    A.        Right.

       12    Q.        -- "and increases based on percentage of

       13    income."

       14    A.        Right.

       15    Q.        Can we agree that after the adjustment is

       16    made, that the numbers -- that the daily payment for

       17    Exhibits 5 and 6 should be the same because they're

       18    both based upon 10 percent of income?

       19                       MR. BERMAN:    Objection.

       20                       You can answer.

       21                       THE WITNESS:   No.

       22    BY MR. PROPER:

       23    Q.        Why not?

       24    A.        Because when your client proceeded to steal


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        1    the receivables that she -- that we sold, that we

        2    purchased together, when she stole those, it becomes

        3    her income.    So all the factoring agreements, when she

        4    came up to my office and assigned to us, she stole from

        5    us, now that becomes her income.        That belongs on her

        6    balance sheet because we haven't gotten paid, so she

        7    took it in as income.      So your numbers are incorrect.

        8    Q.       So if I'm understanding what you're saying,

        9    the monies that you advanced to my client, CBSG treated

       10    as income?

       11                      MR. BERMAN:    Objection.

       12                      You can answer.

       13                      THE WITNESS:    Obviously, it would

       14    become income if she took it from us, right?           And she

       15    took the receivables.      These are specific receivables.

       16    This is not a typical cash advance.         This is a specific

       17    receivable that she sold to us.        It's on all of the

       18    agreements unsolicited.

       19    BY MR. PROPER:

       20    Q.       So income, as you understand it and as CBSG

       21    treated it, included any money that CBSG gave to my

       22    client's business?

       23                      MR. BERMAN:    Objection.

       24                      THE WITNESS:    I wouldn't know how they


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        1    underwrote the file, again, but it would be obvious to

        2    me, looking at this, since you're showing me this

        3    stuff and I can make an opinion, an opinion would be

        4    that, yes, she took all the income, didn't pay off the

        5    income, so it becomes income.        Our share, a

        6    proportionate part of the deal, was taken by her, so I

        7    would imagine that would be purported as income.

        8    BY MR. PROPER:

        9    Q.       And so Exhibit 5 is December 19th, 2018, and

       10    if you look at the bank statements, which is

       11    Exhibit 7 --

       12                      MR. BERMAN:     Were these produced?      They

       13    haven't been produced before today?

       14                      MR. HESKIN:     They're part of the

       15    petition exhibits.      That's where we got them, so I'm

       16    sure they've been produced.

       17                      MR. BERMAN:     Okay.

       18    BY MR. PROPER:

       19    Q.       So if you turn -- and I can show you this for

       20    ease.   You can ignore my notes or not.         I don't care.

       21    But on December 20, 2019, there was a debit of $3500

       22    associated with this particular agreement.           Are you

       23    aware of that?

       24    A.       No.    How would I know?


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        1    Q.       Do you know how CBSG calculated the

        2    3500-dollar daily payment for Exhibit 5, which began on

        3    December 20, 2019?

        4    A.       I have no idea.

        5    Q.       And then CBSG continues to debit $3500 for

        6    Exhibit 5 from December 19th through January 23rd.            And

        7    we can go through.      You can flip through yourself or

        8    accept my representation, but here's January 23rd and

        9    $3500 is still being taken out each day.          You can see

       10    the 22nd, $3500.     You can see the 18th, $3500 and so on

       11    and so forth.

       12    A.       Uh-huh.

       13    Q.       On January 24th, CBSG, for this particular

       14    agreement, begins debiting $12,337.

       15                      MR. BERMAN:    Are you representing that?

       16                      MR. PROPER:    That's my representation.

       17                      MR. BERMAN:    Okay.    So you can accept

       18    the representation for answering this question.

       19    Doesn't mean it's true, but you can accept it.

       20                      THE WITNESS:    Yeah.

       21    BY MR. PROPER:

       22    Q.       So do you know why CBSG increased the amount

       23    of the daily payment for this agreement from $3500 to

       24    $12,337?


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        1    A.       I have no idea.

        2    Q.       Do you know what CBSG was doing to monitor my

        3    client's income in order to calculate the daily

        4    payment --

        5    A.       I'm not in the underwriting department.           I

        6    don't know.

        7                      MR. BERMAN:     Let him finish for her,

        8    just for her.

        9    BY MR. PROPER:

       10    Q.       Do you know what my -- strike that.

       11                      Do you know what CBSG was doing to

       12    monitor my client's income to ascertain the daily

       13    payment from December 20, 2019, through January 24,

       14    2019?

       15    A.       No.

       16    Q.       Now, CBSG debits $12,337 from my client's

       17    account in connection with this agreement from

       18    January 24, 2019, through February 14th, 2019.            You

       19    could see the 12,000, Mr. LaForte -- the 12,337 is

       20    still debited on the 14th.

       21    A.       I know that your client took 25 million from

       22    our company and paid back 21 million; therefore,

       23    leaving us a deficit of $3 million.          That's the only

       24    thing I know regarding these contracts.           I don't know.


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        1    It was unsolicited.      She solicited our company.       She

        2    put together most of her own deals.         And the reason how

        3    this sophisticated human being is able to do that is

        4    because she's also in the cash advance business.           So

        5    she, in herself, owns a cash advance company.           So not

        6    only was she aware of every contract, she designed all

        7    of them.    So I'm sure that they -- she knew exactly

        8    what she was doing.      I can't testify to what these

        9    charges are because I'm not an accountant and this is

       10    foreign to me.     I don't know.

       11    Q.       And I just have to ask the questions

       12    notwithstanding.

       13                      On February 15th, 2019, I'm going to

       14    represent to you that the daily payment for this

       15    agreement increased to $14,525.        Do you know why it

       16    increased?

       17    A.       I wouldn't know.

       18    Q.       Do you know what, if any, change in income

       19    there was for my client's business?

       20    A.       I'm not in underwriting.       I represent

       21    Recruiting and Marketing Resources.         I'm not in

       22    underwriting or an accountant, so I can't testify to

       23    the answers to the questions -- in a lot of questions

       24    you're giving me right now.


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        1    Q.       Did you have any discussions with anyone at

        2    CBSG about these particular increases?

        3    A.       I don't remember.

        4    Q.       Do you have any e-mail communications, to your

        5    knowledge, between yourself and anyone at CBSG

        6    regarding these increases?

        7    A.       I don't know.

        8    Q.       Do you know if my client, as of February 15th,

        9    2019, was meeting her obligations with respect to all

       10    of the agreements that were outstanding at this time?

       11    A.       I wouldn't know what dates your client stopped

       12    making their obligations.         I don't --

       13    Q.       Are you aware that at one point in time, I

       14    believe it was December 18 -- December 17, 2018 --

       15    actually, I take that back.         Strike that.

       16                      Are you aware that on November 8th,

       17    2018, my client was charged a finance fee of

       18    $472,356.60?

       19    A.       No.

       20                              -   -    -

       21                 (Whereupon, an HMC, Inc. Funding Payment

       22    History has been marked as Exhibit LaForte-8 for

       23    identification.)

       24                              -   -    -


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                                                                      Page 95
        1                      MR. BERMAN:     Was this document

        2    produced?

        3                      MR. PROPER:     It's your document.

        4                      MR. BERMAN:     No, we didn't produce any

        5    documents in this case.       It's very confusing without

        6    Bates stamps.

        7                      MR. PROPER:     I don't know --

        8                      MR. BERMAN:     Just ask the question.

        9    BY MR. PROPER:

       10    Q.       Do you recognize this as a CBSG document or is

       11    this a spreadsheet from -- actually, it may not be the

       12    transaction history.      So do we know what this is?

       13                      MR. FEDULLO:     It's a spreadsheet that

       14    was created by Kara.

       15                      MR. PROPER:     I apologize.     I thought

       16    this was the transaction history.         It's not.

       17    BY MR. PROPER:

       18    Q.       So do you know whether or not my client's

       19    accounting entry that a finance fee of 472,356.60 was

       20    imposed upon her company on November 8th, 2018?

       21    A.       I'm not an accountant, but I will elaborate.

       22    Q.       Yes.

       23    A.       I'm not an accountant.        I'm just a -- I was a

       24    college baseball player.       Played some minor league


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        1    baseball.    I don't really have a formal education.          But

        2    I can tell you this:      She couldn't be assessed a fee if

        3    she owes the company 3 million.        So, in my eyes, she

        4    wasn't assessed anything.

        5    Q.       Well, can't you be imposed a finance fee and

        6    have that finance fee be added to any outstanding

        7    monies that are owed?

        8                      MR. BERMAN:    Objection.

        9                      THE WITNESS:    It never happened.      She

       10    paid -- she never paid it back, so what's the

       11    difference?    I don't know about that, but she never

       12    paid it back, so I'm not going to answer about why she

       13    doesn't have a finance fee that was never paid.

       14    BY MR. PROPER:

       15    Q.       Yeah.    Do you know whether --

       16    A.       If she paid the finance fee, we'd pay it back.

       17    Q.       Do you know -- do you know whether, in

       18    November of 2018, whatever monies my client owed CBSG

       19    were increased by some $400,000 --

       20    A.       I don't know.

       21    Q.       -- to reflect finance fees?

       22    A.       I don't know.

       23    Q.       So you don't know anything about finance fees

       24    that were --


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        1    A.       I don't know.

        2    Q.       Just need to be able to finish because the

        3    question right now reads, "Do you know anything about

        4    finance fees that were --"

        5                      MR. BERMAN:     Just let him finish asking

        6    the question.

        7                      THE WITNESS:     I answered the --

        8                      MR. BERMAN:     I know, but he may have a

        9    different question.

       10                      THE WITNESS:     I answered the question

       11    thoroughly on the finance fee.

       12                      MR. BERMAN:     I know, but he may have a

       13    new question.

       14                      THE WITNESS:     All right.

       15    BY MR. PROPER:

       16    Q.       I know you answered what would have been my

       17    full question; I get that.        There's just a tendency at

       18    a deposition sometimes, particularly when we've gotten

       19    to know each other a little, you anticipate where I'm

       20    going, you answer the question --

       21    A.       I don't know you, so don't make like we know

       22    each other.     I don't know you.

       23                      MR. BERMAN:     What's your question, so

       24    can get this --


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                                                                        Page 98
        1                      THE WITNESS:    Get to know you.

        2                      MR. BERMAN:    Let's ask the question.

        3    Let's just ask the question.

        4    BY MR. PROPER:

        5    Q.       Do you know anything from any source about

        6    whether my client's business was assessed a finance fee

        7    whether or not charged or monies added to the

        8    outstanding balance my client owed to CBSG?

        9                      MR. BERMAN:    Objection.

       10                      You can answer.

       11                      THE WITNESS:    I don't know.     Your

       12    client designed most of the deals herself.          She's in

       13    the cash advance business.       These are factored

       14    agreements.    I don't know.     I don't -- I'm not an

       15    accountant.    There's a lot of papers in front of me I

       16    can't even see.     I can't testify to any of that.

       17    Without any glasses, I can't see.

       18    BY MR. PROPER:

       19    Q.       Which document in particular can't you see?

       20    A.       I don't know anything about the accounting.

       21                      MR. BERMAN:    Well, he told you on this

       22    one, the e-mail, he couldn't see, which is, I think,

       23    what he's talking about --

       24                      MR. PROPER:    I understand that.


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        1                      MR. BERMAN:     -- which is LaForte-4.

        2    Just so we have a clear record what he's pointing to.

        3    MR. PROPER:

        4    Q.       I understand and I think you understand that I

        5    need to establish, because the witness said something,

        6    that are there any other documents, other than

        7    Exhibit 4, that you're having difficulty reading?

        8    A.       Even if I could read them, I'm not an

        9    accountant.     I wouldn't even know what it meant.         I

       10    don't know what any of this is.

       11    Q.       Were you involved in negotiating any of the

       12    agreements between CBSG and my client?

       13    A.       I don't remember.

       14    Q.       Were you involved in trying to collect monies

       15    from my client on behalf of CBSG?

       16    A.       Yes.

       17    Q.       Was there a point in time where my client

       18    represented to you that she was having difficulty

       19    making the daily payments?

       20    A.       I don't recall.

       21    Q.       What role did you have in trying to enforce

       22    the agreements --

       23    A.       There never should have been any agreements.

       24                      COURT REPORTER:      Hold on a second.


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                                                                      Page 100
        1                      MR. BERMAN:     What role did you have to

        2    try to enforce the agreements?

        3                      Right, that was the question?

        4                      And answer?

        5                      THE WITNESS:     I don't know what that

        6    means, by "role."

        7                      MR. BERMAN:     Okay.   So he'll rephrase

        8    the question.

        9    BY MR. PROPER:

       10    Q.        What discussions did you have with my client

       11    in an effort to collect monies that you allege she owed

       12    to CBSG or you believe she owed?

       13    A.        No, she definitely owed.        Probably, if I could

       14    remember the right way, what did you do with the

       15    receivables that we purchased and that we owned and why

       16    did you steal them from us and not pay them?           So if you

       17    and I make an agreement and we say that we're going to

       18    sell this pack of gum right here and we're going to

       19    split it and you take all the gum, you stole it.            So

       20    she stole the money because it specifically talks about

       21    a receivable.

       22    Q.        Well, wouldn't CBSG have been taking -- strike

       23    that.

       24                      So on these agreements, so the February


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        1    agreement, if you look at Exhibit 6, states that the

        2    daily payment's going to start at 4583 and increase

        3    based upon percentage of income, right?          We established

        4    that it's what it says?

        5    A.        Okay.

        6    Q.        So what would happen under this agreement, as

        7    you understand it, if my client's income decreased?

        8    Would the daily payment decrease?

        9    A.        I don't know anything about how that works.

       10    Q.        So under the -- under this agreement, I'm

       11    going to represent to you that my client was charged

       12    $19,995 a day beginning on April 16, 2019, under this

       13    agreement.    So the daily payment increased from 4583 to

       14    over $19,000.

       15    A.        Did she pay back the receivable that we

       16    financed?

       17    Q.        Well, let's start with that premise.

       18    A.        No, let's just talk about the first thing.

       19    Did she pay back the receivable; in other words, when

       20    she got the money, did she pay it back to us?

       21    Q.        Do you know if the $19,995 that CBSG debited

       22    on April 16th reflected 10 percent of my client's

       23    income?

       24    A.        Do you know?    I don't know.     Do you know if


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        1    she paid back that receivable, though?          In other words,

        2    receivables that she came to my office 16 times and

        3    pledged with my girls by buying them candies and

        4    lunches every time she came, do you know if those

        5    receivables were paid back?        I don't think so because

        6    if they were paid back and we got our share, we

        7    wouldn't be sitting here right now.         So she captured

        8    the receivables and took the receivables.           So these

        9    payments are irrelevant.       I don't know.

       10    Q.        Do you know if CBSG was taking more money than

       11    it was entitled to under these agreements?

       12                      MR. BERMAN:     Objection.

       13                      You can answer.

       14                      THE WITNESS:     No.

       15    BY MR. PROPER:

       16    Q.        Well, how can you say that CBSG wasn't taking

       17    more money than it was entitled to when you don't know

       18    how CBSG was calculating the 19,995-dollar daily

       19    payment on --

       20    A.        Because you have to learn finance again.

       21    Q.        -- April 16, 2019?

       22    A.        I'll give you a one-on-one class again.

       23    Q.        Sure.

       24    A.        If you look at the original agreements,


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        1    they're 22, 44, 66, 88 days because the receivable came

        2    in.   She kept the receivable instead of giving us the

        3    money.    She never would have had these balances.          So

        4    she actually benefitted by keeping the money that

        5    belonged to us, not only our profit share piece, but

        6    also our principal over years in time.          So she

        7    benefitted from this agreement way more.          If she chose

        8    to pay it back, I don't know how she chose to pay it

        9    back.    But if the receivable never came back to us and

       10    it was a 45-day pay or a 90 pay and a year-and-a-half

       11    goes by, don't you think she did pretty well with our

       12    money, Jason.

       13    Q.        It's Justin.

       14    A.        Jason or Justin.

       15    Q.        So if I'm understanding what you're saying,

       16    when you provided or CBSG provided the advance, if the

       17    monies don't come in, what does that mean?

       18    A.        No, it doesn't mean anything.        I'm not

       19    speaking on behalf of CBSG.        I'm using common sense.

       20    Again, I'm not a lawyer, I'm not an accountant, but I'm

       21    using common sense.

       22    Q.        Does my client --

       23    A.        You want to use the gum theory again?          We'll

       24    use the gum theory again.       If you don't pay back what


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        1    you originally had pledged, that's called taking

        2    something that doesn't belong to you.

        3    Q.        Does my client still have to pay back the

        4    money if the receivables never come in?

        5                      MR. BERMAN:     Objection.

        6                      THE WITNESS:     I wouldn't know the

        7    answer to that.

        8    BY MR. PROPER:

        9    Q.        Well, under the agreement, who bears the risk

       10    of loss if there's no receivable?

       11    A.        I'm sure we'll get to those receivables on the

       12    next deposition for your client.

       13    Q.        Yeah, I'm just asking you if there are no

       14    receivables, is it your testimony that my client still

       15    owes the money?

       16                      MR. BERMAN:     Objection.

       17                      But you can answer.

       18                      THE WITNESS:     Your client definitely

       19    still has receivables because last week, she was

       20    looking for more cash advances, which she also received

       21    a few more cash advances.       Not only do I have the bank

       22    statements, but she's doing very, very well with the

       23    money that I gave her.

       24                      And on top of that, she took another


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        1    cash advance and took some of that money and paid you

        2    guys to litigate me via cash advance.          So cash advances

        3    are her thing.     She knows exactly what she's doing.

        4    She's very sophisticated.       You guys are very

        5    sophisticated.     Used that money to get you guys paid.

        6    It's America.     Very good.

        7    BY MR. PROPER:

        8    Q.        Why do you think that Ms. DiPietro obtained

        9    financing from a litigation funder to pay our firm?

       10                      MR. BERMAN:     That's already said.

       11                      But you could answer.

       12                      THE WITNESS:     I didn't say that.      I

       13    just said a cash advance, didn't I?

       14    BY MR. PROPER:

       15    Q.        I apologize.

       16                      Why do you believe that my client used

       17    monies from a cash advance to pay our firm?

       18    A.        They did.

       19    Q.        How do you -- why do you think that?         Why do

       20    you believe that?

       21    A.        You'll find out.

       22    Q.        I'm asking you --

       23    A.        You'll find out.

       24    Q.        -- what you know.


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        1    A.        You'll find out.     I don't have to tell you

        2    anything.    You'll find out.      She took a cash advance to

        3    pay you.    That's why I think these guys should be

        4    recused from this case.       I don't know a lot about the

        5    law, but if you're fighting against cash advances and

        6    Mr. Heskin here is a mavin against the cash advance

        7    business and he's telling his clients to go out and

        8    take cash advances to get himself paid, that would seem

        9    hypocritical to me, Your Honor.         I mean, I don't

       10    understand why I'm here.       She's continuing to take cash

       11    advances.

       12                      She owns a cash advance company called

       13    Kenetic Capital and I don't know why I'm here.           This is

       14    a sophisticated person.       I'm the fool to get scammed

       15    and that's just what happens.        In life, that happens.

       16    We're out $3 million, the company.         I lost all my

       17    broker fees.     It happens.    The fact of the matter is if

       18    she took a cash advance in order to pay you guys, shame

       19    on you and you guys shouldn't be deceiving us.           The

       20    fact of the matter is you guys are here for one reason.

       21    Not to help your clients.       You're here to bilk them

       22    with my money and other people's money.

       23    Q.        What brokering fees did you lose?

       24    A.        My fees.


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        1    Q.        How much did you lose?

        2    A.        I don't remember.

        3    Q.        Did you get paid --

        4    A.        If the company loses money, I wouldn't expect

        5    to get paid, right?       So similar to when you lose a

        6    case, you still have to pay, right?

        7    Q.        Did you get paid and then have to return money

        8    to CBSG or were you owed money and then not paid --

        9    A.        I don't remember.      Like when you -- like if

       10    you lose this case, you'd have to return some of the

       11    fees you guys are probably borrowing, right, to go pay

       12    back the contingencies.        It's a similar thing.       It's

       13    how it works.

       14    Q.        Why do you believe that my client used cash

       15    advance money to pay our firm?

       16    A.        You'll find out later on.        I'm sure that

       17    Mr. Berman wouldn't let me answer that question even

       18    though he didn't object.

       19    Q.        Unless Mr. Berman instructs you not to answer,

       20    you have an obligation to answer my questions.

       21    A.        I don't have an obligation to answer anything

       22    you tell me.

       23                      MR. BERMAN:     Especially since the time

       24    period you're talking about is well outside the scope


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                                                                      Page 108
        1    of this case, but he's giving you --

        2                      THE WITNESS:     I'm volunteering the

        3    answer.    I gave you the answer already.

        4    BY MR. PROPER:

        5    Q.        You're seeking and have self-discovery in that

        6    time period.     You're saying that those documents are

        7    not --

        8    A.        Justin --

        9                      MR. BERMAN:     I didn't say anything.

       10    Your document requests are not yet due.           You served

       11    them very untimely, so they're due the day before the

       12    close of discovery.       We'll produce responsive

       13    documents.

       14                      MR. PROPER:     Whether they're due or

       15    not, this is a fact-finding deposition.           I'm entitled

       16    to discover information your client is withholding.

       17                      MR. BERMAN:     He's told you many

       18    times -- probably six times now, I've heard it --

       19    that -- and I'm not here to testify for him, so I'll

       20    just say what he said.       He told you that she took a

       21    cash advance and, the next day, she wired the money to

       22    your firm.

       23                      Right?

       24                      THE WITNESS:     Not the next day.       Not


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        1    the next day.     A few days.

        2                      MR. PROPER:     Great.   Who is the company

        3    just so --

        4                      MR. BERMAN:     I don't know.     I just told

        5    you what he said.

        6                      MR. PROPER:     Yeah, I just want you

        7    to -- it will be easier if I can ask you the questions.

        8                      THE WITNESS:     You should know.     You

        9    probably set up the financing for it.

       10                      MR. BERMAN:     Just answer.    Who's the

       11    company; do you know?

       12                      THE WITNESS:     I don't know.

       13                      MR. BERMAN:     Okay.

       14    BY MR. PROPER:

       15    Q.        How did you discover that my client took a

       16    cash advance?

       17    A.        Heard it.

       18    Q.        Heard it from who?

       19    A.        Heard about it.

       20    Q.        From who?

       21    A.        A bird.

       22                      If the client did take a cash advance

       23    and did send you the money, Jason, would you recuse

       24    yourself?    I mean, because you're part of the


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        1    hypocrisy, right?

        2    Q.        It's Justin, Mr. LaForte.

        3    A.        Justin, would you recuse yourself?         Shane,

        4    would you recuse yourself if they did that?           You'd have

        5    to.   It would be the laughing stock of the whole

        6    industry.    Guys who are the biggest advocates against

        7    cash advances are telling their clients to get cash

        8    advances to pay them.       Wouldn't that be an interesting

        9    document to produce?

       10                      MR. HESKIN:     It would be.

       11                      THE WITNESS:     Oh, it's coming.

       12    BY MR. PROPER:

       13    Q.        How do you know it's coming?        What do you know

       14    that you're not telling us?

       15    A.        I know a lot of things I would never tell you.

       16    So that's none of your business.

       17    Q.        So you're not going to answer any questions

       18    that I may have with respect to how you're discovering

       19    my client's activities?

       20    A.        Let Ms. DiPietro answer the questions.         I'm

       21    sure she's getting a deposition soon; is that correct?

       22                      MR. BERMAN:     She is.

       23    BY MR. PROPER:

       24    Q.        So the answer to my question is you are


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        1    refusing to provide me with the information you know

        2    about my --

        3    A.        Who are you?     I don't have to tell you

        4    anything.

        5                      MR. BERMAN:     Let -- let -- we're not

        6    doing --

        7                      THE WITNESS:     You're supposed to ask me

        8    the questions.      I'm answering questions.       I don't have

        9    to provide you with anything.

       10                      MR. BERMAN:     Well, let me say this:

       11    Ask questions and he'll answer.

       12                      MR. PROPER:     I've been asking

       13    questions.

       14                      MR. BERMAN:     So ask the question and

       15    let him answer.

       16                      MR. PROPER:     You don't like your client

       17    refusing to answer questions; that's fine.            But don't

       18    tell me how to conduct my deposition, please.

       19                      MR. BERMAN:     I'm not, but I'm just

       20    saying --

       21                      MR. PROPER:     I'm asking questions.

       22                      MR. BERMAN:     -- if you give me a

       23    blanket, like, if I ask all these questions, I'm not

       24    agreeing to that.      So ask questions.      He'll answer or


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        1    not, but I think he's answering -- I think he's

        2    answered you he doesn't know that --

        3                       MR. PROPER:     These are speaking

        4    objections and aren't appropriate, so stop.

        5                       MR. BERMAN:     Just ask questions.

        6    BY MR. PROPER:

        7    Q.        Which bird told you about my client's MCA

        8    activity?

        9                       MR. BERMAN:     And if you know, answer.

       10    Just if you know, answer it.

       11                       THE WITNESS:     I'm not answering.

       12                       MR. BERMAN:     Okay.

       13    BY MR. PROPER:

       14    Q.        What are you doing to monitor my client's

       15    business activities currently?

       16    A.        Nothing.

       17    Q.        What is CBSG -- what is CBSG doing to monitor

       18    my client's business activities?

       19    A.        Nothing.

       20    Q.        What role did --

       21    A.        Who is your client, just so I get a clear

       22    picture?

       23    Q.        HMC and Kara DiPietro.

       24                       What role did you have with Bridge


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        1    Capital contacting my client?

        2    A.        Jason --

        3    Q.        Justin.

        4    A.        Justin, let's -- HMC -- what's the name of the

        5    company, HMC what?

        6    Q.        What role did you have personally --

        7    A.        What's the name of the company?

        8                      MR. BERMAN:     HMC Incorporated.

        9    BY MR. PROPER:

       10    Q.        What role did you have, Mr. LaForte,

       11    personally, if any, in having representatives of Bridge

       12    Capital contact my client?

       13    A.        I never heard of the company.

       14    Q.        How do you know that Ms. DiPietro wired any

       15    monies to our law firm?

       16    A.        Good guess.

       17    Q.        Are you guessing or do you know?

       18    A.        Not answering you.

       19    Q.        You understand your counsel did not instruct

       20    you not to answer?

       21    A.        You understand that if you took -- if your

       22    client took a cash -- another cash advance to pay you,

       23    what a problem you have?       Why are you questioning me?

       24    I'm not the one that took the cash advance in order to


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                                                                      Page 114
        1    pay you.    Why are you questioning me?

        2    Q.        Do you have any information at all about any

        3    of the increases in daily payments from my client?

        4    A.        No.

        5    Q.        Do you have any information at all about how

        6    CBSG calculated or monitored the income of my client?

        7    A.        No.

        8    Q.        Do you have any information at all about what

        9    reserves, if any, CBSG keeps with respect to MCA

       10    transactions?

       11                      MR. BERMAN:     Objection.     You mean this

       12    one?

       13                      MR. PROPER:     You can answer this one.

       14                      MR. BERMAN:     As to this.

       15                      MR. PROPER:     But there is no limitation

       16    on this deposition.

       17                      MR. BERMAN:     We don't agree.

       18                      THE WITNESS:     I don't know what the

       19    word means.

       20                      MR. BERMAN:     Just answer his question.

       21    So the answer is "I don't know"?

       22                      THE WITNESS:     I don't know.

       23    BY MR. PROPER:

       24    Q.        Do you know if CBSG is audited by any third


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        1    party?

        2    A.        I don't know.

        3    Q.        Do you know if Mr. Vagnozzi represents on his

        4    website that the agreements between CBSG and businesses

        5    are loans?

        6    A.        I wouldn't know.

        7    Q.        Have you ever seen any of the videos that

        8    Mr. Vagnozzi has on his website describing CBSG's

        9    products?

       10    A.        I don't go on websites.

       11    Q.        Okay.   Have you ever been at an event where

       12    Mr. Vagnozzi played videos where he is describing

       13    CBSG's products?

       14    A.        Maybe once.

       15    Q.        Do you recall that in the videos that

       16    Mr. Vagnozzi plays at these events, that he describes

       17    CBSG's products as loans?

       18    A.        No.

       19    Q.        If you had been at an event and Mr. Vagnozzi

       20    continuously represented to investors and potential

       21    investors that CBSG charges 35 percent interest rates,

       22    would you correct that?

       23                      MR. BERMAN:     Objection.

       24                      You can answer.


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                                                                      Page 116
        1                      THE WITNESS:     Yes.

        2    BY MR. PROPER:

        3    Q.        Okay.   So you've never been at an event and

        4    represented that CBSG charges 35 percent interest?

        5    A.        If you're asking me if I correct people in

        6    public forums, the answer to that is no, except for

        7    you, who doesn't really understand the business.            But,

        8    no, I don't have a common practice of correcting people

        9    in public forums.      If a man said a word, I'm not going

       10    to sit there and correct him, nor is it my obligation

       11    to correct any word he uses.        Especially a slight

       12    differential in a word, I'm not going to correct a man.

       13    I don't do that.

       14    Q.        Ms. DiPietro in Exhibit 4 -- and I'm reading

       15    this because the print is small -- on May 3rd, 2019,

       16    she writes in response to one of your e-mails, "Thank

       17    you.   Yes, the only problem has been the rate of

       18    increase in the two daily payments without warning, not

       19    the total amount due.       I will send along an idea for

       20    review in the next hour or so."         And then you respond

       21    the same day, "Okay, I will work on it, but let's be

       22    honest, it looks like you waited until you got all our

       23    money first before you made a complaint about the

       24    escalations, right?      You see how this looks to us


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        1    optically, right?      The payments have been increasing

        2    every week since the first deal the same way.           Now your

        3    funding is ended and you are complaining about

        4    escalations.     See our point?"

        5                      Do you remember sending that e-mail?

        6    A.        Yup.

        7    Q.        So you were aware at least in May of 2019

        8    about the escalation of the daily payment?

        9    A.        What kind of deal was that?       Did you study the

       10    deal?    Did you study the deal?      They're tranche deals,

       11    right?

       12                      MR. FEDULLO:     I'm not being deposed.

       13                      THE WITNESS:     If you study the deal, if

       14    you look, the money is not given in full to the client.

       15    It's tranched in a -- during a specific time period,

       16    which I don't have in front of me.         So, obviously, if

       17    she gets more capital, the payments go up.           She took

       18    all the money first and then complained about the

       19    payment.

       20    BY MR. PROPER:

       21    Q.        So you're saying that when CBSG is advancing

       22    money in tranches --

       23    A.        Uh-huh.

       24    Q.        -- that after every advance --


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        1    A.        Right.

        2    Q.        -- that's additional income and therefore the

        3    daily payment necessarily will increase?

        4    A.        Correct.

        5    Q.        Now we're on the same page.

        6    A.        It took three hours to get you there.

        7    Q.        Listen, we -- I don't have a finance degree,

        8    so I apologize.

        9    A.        I know, but you're representing these people.

       10    It gets confusing.

       11    Q.        Is there anything in any of the agreements

       12    that my client signed, to your knowledge, which advises

       13    her that CBSG is going to treat the advances as income?

       14    A.        I don't know.

       15    Q.        And you don't know anything, just to be

       16    clear -- and I'm asking these broadly so we can move

       17    things along.      I'm trying to be as respectful as I can

       18    of your time, Mr. LaForte.

       19                       Do you know anything generally about

       20    how CBSG was monitoring the income of my client?            Like

       21    were they reviewing bank statements?          Were they doing

       22    some type of online monitoring?         Do you know anything

       23    about that?

       24    A.        No, but I can -- I'll elaborate.


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        1    Q.        Okay.

        2    A.        It was a great relationship between us and

        3    Ms. DiPietro.     Ms. DiPietro was -- came to our office

        4    many times.     She was in the cash advance business.

        5    There was a lot of trust placed on her that she would

        6    borrow responsibly and that her receivables were real.

        7    So I think that, in hindsight, that CBSG did a poor job

        8    in monitoring her obvious misappropriation, if you

        9    would, of funds.      So how they -- how they did that, I

       10    don't know.     If it were me, I probably wouldn't have

       11    done it that way, but that's what they chose to do.

       12    Q.        And one other question before we mark some

       13    text messages.     Do you know anything about how CBSG was

       14    determining what payments were made on a particular

       15    invoice?

       16    A.        No.

       17                              -   -   -

       18                 (Whereupon, Text Messages have been marked

       19    as Exhibit LaForte-9 for identification.)

       20                              -   -   -

       21    BY MR. PROPER:

       22    Q.        And just to be clear, you weren't involved in

       23    the underwriting for any of these agreements?

       24    A.        I'm not an underwriter.


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                                                                      Page 120
        1    Q.        And you don't know how the underwriting was

        2    done?

        3    A.        No.

        4    Q.        Okay.   Are you familiar with these text

        5    messages between yourself and my client?

        6    A.        I can't see them.

        7    Q.        Okay.   So I'll help with reading these.

        8                      On May 10th, it looks like you text my

        9    client.    It says, "Type, incoming sender, Joe LaForte."

       10    And the text says, "You need to call me."

       11                      Do you remember sending a text on or

       12    about May 10th?

       13    A.        I wouldn't know.     I don't even know if this is

       14    my writing.

       15    Q.        Okay.   Do you recall --

       16    A.        And I wouldn't believe anything that is on any

       17    of these pages, especially since she accused me of

       18    trying to blow up her house and that was untrue,

       19    obviously, because we discovered that already.           So why

       20    would I believe any of this gibberish and nonsense?            So

       21    I'm not going to answer to any of these questions.

       22    Q.        Do you have any of your text messages with my

       23    client?

       24    A.        I don't know.


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        1    Q.        Did you text with my client?

        2    A.        I don't know.

        3    Q.        Did you tell my client on May 10, 2019, to get

        4    her fat ass up and call you?

        5    A.        I hope so.

        6    Q.        Okay.   Did you tell my client in a text

        7    message on May 10, 2019, "Okay, so you think I screwed

        8    you.    Are you seriously nuts?       I am out millions.      I

        9    trusted you with my family's money.          I never screwed

       10    anyone, especially you.        Now I'm going to have to come

       11    after you for the money."        Did you send that text?

       12    A.        I don't know.

       13    Q.        Were you out millions of dollars because of my

       14    client?

       15    A.        I don't know.

       16    Q.        Did you trust my client with your family's

       17    money?

       18    A.        I don't have any family money.

       19    Q.        Okay.   If you -- if we can verify that you

       20    sent this text on May 10th --

       21    A.        Call me back and I'll let you know.

       22    Q.        Okay.   But would there be any reason why you

       23    would tell my client that you trusted her with your

       24    family's money --


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        1    A.        What's the difference?        What is it your

        2    business what my family has?         Where are you going?

        3    Q.        I'm just asking whether or not the money that

        4    was advanced to my client included money from you or

        5    any of your family.

        6    A.        No.

        7    Q.        Okay.    So if you had told my client --

        8    A.        Is my wife considered my family?          How does

        9    that work?      Is my wife considered family?

       10    Q.        Yes.

       11    A.        Oh, okay.     I didn't know because you guys

       12    might run your lives differently than me, but my wife

       13    is considered family.

       14    Q.        So did your wife provide monies?

       15    A.        I'm just asking you a question back; that's

       16    all.    And you answered it.

       17    Q.        Did your wife provide monies?

       18    A.        No.

       19    Q.        Is your wife currently the president of CBSG?

       20    A.        I don't know.

       21    Q.        Do you know who is --

       22    A.        You asked me that earlier and you asked me

       23    that at the last deposition.         You keep asking me the

       24    same questions.


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        1    Q.        I thought at the last deposition you said she

        2    was and she was actively involved in running the

        3    company.

        4    A.        Whatever.    I don't remember.

        5    Q.        And today you said no.

        6    A.        I don't remember.

        7    Q.        Did you tell my client on May 10, 2019, at

        8    1:27 p.m., "You keep clicking me and my A/R team is

        9    contacting your clients as we speak."

       10                      Who is your A/R team?

       11    A.        I don't know.

       12    Q.        Do you have an A/R team?

       13    A.        I don't know if this is mine, first of all.

       14    So you need to go back and verify this, that it's mine,

       15    and then I'll come back and answer questions about

       16    this.   She's a liar, a known liar.        She said I tried to

       17    blow up her house, which, obviously, isn't true because

       18    I'm still sitting here with you.         So these all could

       19    not be me, so why would I answer something that I

       20    can't answer, that I can't know -- I don't even know if

       21    it's me?    Anybody can put my name there.

       22    Q.        Do you have an A/R team at CBSG?

       23    A.        I don't know.     I don't have anything at CBSG.

       24    I work at Recruiting and Marketing Resources.


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                                                                      Page 124
        1    Q.        Did you tell my client --

        2    A.        Do you remember that from last time?

        3    Q.        Did you tell my client that you have an A/R

        4    team?

        5    A.        I don't know.

        6    Q.        Did you tell my client that you were out

        7    millions of dollars?

        8    A.        I don't know.

        9    Q.        Did you tell my client in a text on May 10,

       10    2019, at 1:29 p.m. to pick up coward?

       11    A.        I don't know.     I can't -- I don't even know if

       12    this is mine.

       13    Q.        Did you text my client at 1:33 p.m. on

       14    May 10th, 2019 --

       15    A.        Can we get this over with and just say I don't

       16    know what any of this is?

       17                      MR. BERMAN:     Let him just ask the

       18    questions.     He's almost done.

       19                      THE WITNESS:     I don't know.

       20    BY MR. PROPER:

       21    Q.        "This is fraud on your part, straight up

       22    robbery.    You're disgusting."       Did you tell that to my

       23    client?

       24    A.        I hope so.


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        1    Q.        Okay.   You think my client is disgusting?

        2    A.        I think you're disgusting.        I think you guys

        3    are disgusting for even taking this case.

        4                      MR. BERMAN:     Let's keep the questions

        5    going.

        6                      MR. PROPER:     Why can't you tell your

        7    client not to insult me?

        8                      MR. BERMAN:     Well --

        9                      THE WITNESS:     Because you took a cash

       10    advance, buck.     You took a cash advance in order to

       11    help this client.      And you made the client go take a

       12    cash advance.     That's why you're asking about

       13    disgusting, you're asking me dumb questions.           Do I

       14    think somebody is disgusting?

       15                      MR. BERMAN:     Let's just let him keep on

       16    asking so we can finish this up.

       17                      Keep on going, Justin, please.

       18                      MR. PROPER:     Mark that, please.     I

       19    think we're at 10.

       20                              -   -   -

       21                 (Whereupon, 5/2/19 E-mail Exchange (2 pages)

       22    have been marked as Exhibit LaForte-10 for

       23    identification.)

       24                              -   -   -


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                                                                      Page 126
        1    BY MR. PROPER:

        2    Q.        Mr. LaForte, this copy is a little better with

        3    the font.

        4                      Do you recall receiving an e-mail from

        5    my client on May 2nd, 2019 --

        6    A.        No.

        7    Q.        -- which reads, in part, "I doubt you have had

        8    time to review the e-mail I sent earlier, but, in

        9    short, the way we structured the open six contracts

       10    depleted our cash flow.        Do you have a second to

       11    briefly" -- it says "glace," G-L-A-C-E.           I think she

       12    means glance -- "at the info I sent earlier?            You will

       13    see that the same amount of" -- dollar sign, dollar

       14    sign -- "money coming in and virtually the same amount

       15    of funding at a cost three times as much as before has

       16    put us in a paycheck-to-paycheck situation."            And then

       17    my client requests, and I quote, for the short term,

       18    open paren, like until Monday, closed paren, comma, I

       19    have a couple of ideas, colon, 1, open paren, freeze

       20    dailies, semi colon, 2, period, closed paren, provide

       21    funding, period.

       22                      Do you recall my client advising both

       23    Mr. Cole and yourself that my client was having money

       24    problems and requested a freeze of the dailies?


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        1    A.        How could your client have any money problems

        2    when she took all of our receivables?

        3    Q.        Do you know what my client did with the

        4    receivables that you advanced?

        5    A.        I don't know.     I hope we find out.

        6    Q.        Do you know if my client used it to make

        7    payroll payments and pay monies that were owed?

        8    A.        I don't know.     But if she did, that wasn't her

        9    money to use.

       10    Q.        My client wasn't entitled to use the money?

       11    A.        Do you guys steal money?       Do you guys know

       12    where your money comes from?        Do you guys take money

       13    from cash advance companies?        She took money from a

       14    cash advance and didn't pay it back.          And you guys --

       15    basically, the same hypocrisy goes on for you guys.            So

       16    I don't know what she did with her money.

       17    Q.        Do you recall responding to my client on

       18    May 2nd, 2019, at 3:40 p.m., "I cannot freeze my ACH

       19    dailies.    We just completed millions of dollars at

       20    350,000 a month.      I will work with you Monday, but

       21    until then, I expect" -- it says or, but I think you

       22    mean our -- contract to be adhered to."          Did I read

       23    that correctly?

       24    A.        Did you?    I guess you did.     I don't know.


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                                                                      Page 128
        1    Q.        Did you send this e-mail?

        2    A.        I don't know.     Looks like it.

        3    Q.        When you say, "We just completed millions of

        4    dollars at 350,000 a month," who did you mean "we"?

        5    A.        I don't know.

        6    Q.        When you say, "I cannot freeze my ACH

        7    dailies," who's "I" and "my"?

        8    A.        So I represent Recruiting and Marketing

        9    Resources.     I'm the broker on the transaction and this

       10    is my client.

       11    Q.        So --

       12    A.        Unfortunately, it was a very bad transaction.

       13    Q.        Why were you being consulted about these

       14    issues?

       15    A.        So let's go into this, Jason.

       16    Q.        Justin.

       17    A.        Justin.    So when you have -- when you're a

       18    broker, you're responsible to maintain your client the

       19    same way -- same as anybody else, okay?           So you're

       20    trying to pin the fact that I am Par Funding.            I am

       21    not.    I work for Recruiting and Marketing Resources.

       22    When you refer a file over to a company, you do a

       23    best-efforts job in trying to help maintain the client

       24    for the lender for funding.        And that's my effort


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                                                                      Page 129
        1    there.

        2                       MR. PROPER:     Can you mark this as 11,

        3    please.

        4                               -   -   -

        5                  (Whereupon, a 5/2/19 E-mail Exchange (4

        6    pages) have been marked as Exhibit LaForte-11 for

        7    identification.)

        8                               -   -   -

        9    BY MR. PROPER:

       10    Q.        There's an e-mail, Mr. LaForte, on the bottom

       11    of the first page from Aida Lau.          Who is Ms. Lau?

       12    A.        She's an employee of Par Funding.

       13    Q.        And what does Ms. Lau do for Par Funding?

       14    A.        I'm not sure.

       15    Q.        Do you know how long she's worked for Par

       16    Funding?

       17    A.        I don't.

       18    Q.        How many employees does Par Funding have?

       19    A.        I don't know.

       20    Q.        Do they have employees other than Ms. Lau?

       21    A.        I'm sure they do.

       22    Q.        What employee do you personally know at the

       23    company?

       24    A.        I don't know.


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                                                                       Page 130
        1    Q.        Can you think of anyone other than Ms. Lau?

        2    A.        No.

        3    Q.        Does Mr. Cole work for CBSG?

        4    A.        I don't know.

        5    Q.        Ms. Lau writes on May 2nd, 2019, at

        6    10:18 p.m., "Hi, Kara.       Please let me know where I can

        7    find the 10 percent increase on daily per draw.            I

        8    couldn't find it.      I saw it's based on income."        And my

        9    client responds at 10:21 p.m., "Income is revenue minus

       10    expenses.    So should I pull a revenue minus expenses to

       11    get the income amount?       Since it was in the contract

       12    next to 10 percent, it looks like the income is the net

       13    funding."

       14                      Do you agree or disagree with my

       15    client's reading of the agreement that it's net

       16    funding?

       17    A.        I disagree.

       18    Q.        Okay.   And at the top of the page, you

       19    respond -- actually, I take that back.          Ms. Lau

       20    responds --

       21    A.        Anyone can make up any -- first of all,

       22    anybody can make up any expenses.         It doesn't -- you

       23    can't -- you can't do a revenue model based on

       24    expenses.    Anybody can expense a company out as much as


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        1    they want.    Companies would never get paid.         That goes

        2    with any factor.      This is a straight factor deal.

        3                      The fact of the matter is these are

        4    leveraged by actual jobs.         We have proof.    We have the

        5    jobs.   And for you to even say that -- for her to even

        6    insinuate that it's net, how could you do that?            You

        7    just take it all as expenses, no one would get paid.

        8    Q.        If they were factored on specific jobs, then

        9    isn't CBSG limited to taking monies that was received

       10    on those particular jobs?

       11    A.        Yes.

       12    Q.        We agree on that?

       13    A.        Yeah, they should take it on those jobs.          And

       14    if the job is misperformed or something happens, that's

       15    why you get keyman policies.          Then they should pay the

       16    debt.

       17    Q.        Okay.   Well, let's explore that.

       18    A.        Let's say if you -- unless your client came in

       19    and put a bunch of receivables on the books and

       20    committed a fraud; is that what you're getting at?

       21                      MR. PROPER:     Can you read Mr. LaForte's

       22    answer back, please.

       23                              -   -   -

       24                      (Whereupon, the court reporter read the


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                                                                      Page 132
        1    record back as requested.)

        2                              -   -   -

        3    BY MR. PROPER:

        4    Q.        So when you say if the job is misperformed or

        5    something happens such that monies aren't paid on an

        6    invoice, then what happens in terms of my client paying

        7    a debt?    Where does --

        8                      MR. BERMAN:     Objection.

        9                      THE WITNESS:     I don't know.

       10    BY MR. PROPER:

       11    Q.        Is my client still obligated to pay the debt

       12    at that point?

       13                      MR. BERMAN:     Objection.

       14                      THE WITNESS:     I don't know.     It's not

       15    for me to say.     I'm not a lawyer.

       16    BY MR. PROPER:

       17    Q.        No, I'm just asking you.

       18    A.        I'm not a lawyer.       I can't give an opinion.

       19    Q.        Based upon your years working at Recruiting

       20    and Marketing Resources and as an ISO --

       21    A.        I cold call.    I'm not that smart.

       22    Q.        Do you have an understanding as to what

       23    happens if monies are not received on a particular

       24    invoice --


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                                                                      Page 133
        1    A.        I have no idea how that would work.

        2    Q.        -- in these agreements?

        3    A.        I have no idea.     I'm not a lawyer.      This is

        4    way out of my scope.

        5    Q.        Do you know if CBSG was only taking

        6    receivables for a particular invoice or if they were

        7    taking a percentage of all my client's receivables?

        8    A.        I have no idea.

        9    Q.        And Ms. Lau responds to my client on May 2nd,

       10    2019, at 11:32 p.m., "Joe said the agreements are

       11    fixed.    You will need to come in and discuss about this

       12    matter."

       13                      Do you know which Joe Ms. Lau was

       14    speaking of?

       15    A.        How could I testify to what Ms. Lau meant?

       16    Q.        I'm asking you did -- well, let me ask it this

       17    way:   Did Ms. Lau have a discussion with you where you

       18    told Ms. Lau to explain to my client that the daily

       19    payment is fixed?

       20    A.        Could be anybody.     There's a lot of Joes in

       21    the world.    I don't know who she meant.

       22    Q.        Yeah, I'm just asking --

       23    A.        I don't know.

       24    Q.        -- do you recall?


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                                                                      Page 134
        1    A.        Yeah, I don't recall what happened on May 2nd

        2    of 2019 with an e-mail that didn't even come through my

        3    e-mail.    How would I know?      How do I know what she

        4    meant?

        5    Q.        Do you have any e-mail communications with

        6    Ms. Lau about my client?

        7    A.        No.

        8    Q.        Did you look to see if you had any or you

        9    remember that you didn't?

       10    A.        I would doubt I have any.

       11    Q.        Do you recall any conversations that you may

       12    have had with Ms. Lau about my client?

       13    A.        It's not a big topic of conversation, no.

       14    Q.        Well, she owed CBSG a lot of money, didn't

       15    she?

       16    A.        Uh-huh, she did owe a lot of money.         She does

       17    owe a lot of money, still.

       18    Q.        And what efforts are you currently undertaking

       19    to try to collect that money outside of this lawsuit?

       20    A.        I wouldn't know anything about that.

       21    Q.        How did you get a hold of my client's bank

       22    statements recently?

       23    A.        Next question.

       24    Q.        Why won't you answer that question?


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                                                                      Page 135
        1    A.        I don't want to.

        2    Q.        Are you refusing to answer my question --

        3    A.        Yes.

        4    Q.        -- how you ascertained --

        5    A.        Yes.   Who said I asked for bank statements?

        6    Did you say that?

        7    Q.        I thought you testified --

        8    A.        You're putting words in my mouth.         I never

        9    testified about any bank statements, so don't put words

       10    in my mouth.     Don't.   Enough.

       11    Q.        Mr. LaForte --

       12    A.        Don't put words in my mouth.

       13    Q.        -- I could be mistaken.

       14    A.        You are mistaken.     Read it back.

       15    Q.        I would have to go back and look at the

       16    transcript.

       17    A.        You're mistaken.     You've been mistaken about

       18    this the whole day.       So stop mistaking it and get it

       19    right.    I never testified that I saw anybody's bank

       20    statements.      You asked me about Bridge Capital.        I

       21    didn't answer you.      I don't know anything about Bridge

       22    Capital and I don't know anything about bank

       23    statements.      I said a birdie told me.      And that's

       24    exactly how I testified.       And then you asked me what


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        1    was the bird's name.

        2    Q.        At that point, yes, I'm talking previously.

        3    A.        You good?

        4                      MR. BERMAN:     Let's just finish up.

        5    Next question.

        6    BY MR. PROPER:

        7    Q.        Is it your testimony under oath that you have

        8    never obtained bank statements from my client --

        9    A.        I'm not testifying to anything.

       10    Q.        I'm asking you, under oath, did you obtain a

       11    copy of my client's bank statements in the last

       12    two months?

       13    A.        I'm not answering you.

       14                      MR. HESKIN:     We want to reserve the

       15    right and we're going to be bringing a motion to recall

       16    him based on his refusal to answer.

       17                      MR. BERMAN:     Which questions?

       18                      MR. PROPER:     The ones he refused to

       19    answer.

       20                              -   -   -

       21                      (Whereupon, the deposition of

       22           JOSEPH LaFORTE was concluded at

       23           1:54 p.m.)

       24                              -   -   -


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